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                                 EXHIBIT 1

     JOINT DECLARATION OF CLASS COUNSEL
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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

  MICHAEL HAMM, JILL BROWN,
  AUSTIN RUSSELL, CHRISTIAN                             Civil Action: 5:19-cv-00488
  LAMMEY, NANCY JAMES, JILL
  WITTMAN, and THOMAS MACONE,                           Judge James S. Moody, Jr.
  individually and on behalf of all others
  similarly situated,                                   Magistrate Judge Philip R. Lammens

       Plaintiffs,

  v.

  SHARP ELECTRONICS CORPORATION,

        Defendant.



                        JOINT DECLARATION OF CLASS COUNSEL

         1.      This declaration is being submitted by Gregory F. Coleman, Rachel Soffin and Lisa

 White of Greg Coleman Law, Harper Segui and Daniel K. Bryson of Whitfield Bryson LLP and

 Andrea Gold and Hassan Zavareei of Tycko & Zavareei LLP (“Class Counsel”). We offer this

 declaration in support of Plaintiffs’ Unopposed Motion for Attorneys’ Fees and Expenses (“the

 “Motion”). We each have personal knowledge of the facts set forth in this declaration and could

 testify competently as to these facts if called upon to do so.

                          Background and Relevant Procedural History

         2.      Class Counsel have been involved in all aspects of this litigation. Prior to instituting

 this litigation, Class Counsel spent many hours investigating the claims against Sharp. Class

 Counsel interviewed numerous consumers, gathered significant documents about the Microwaves

 and the alleged defect, and worked with a well-qualified engineering consultant who conducted

 testing and analysis of the Microwaves, and who also spent many hours investigating the defect,


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 including research of the product specifications, industry standards, and alternative feasible

 designs.

        3.      Following this substantial investigation, related class actions were filed by the

 undersigned Class Counsel against Sharp in the United States District Court for the Northern

 District of California (Brown, et al. v. Sharp Electronics Corporation, No: 3:19-cv-00371-JD,

 N.D. Cal.) (“California Action”) on January 22, 2019; the United States District Court for the

 Middle District of Georgia (Lammey v. Sharp Electronics Corporation, 3:19-cv-00048-CAR,

 M.D. Ga.) (“Georgia Action”) on May 13, 2019; the United States District Court for the Southern

 District of Ohio (James, et al. v. Sharp Electronics Corporation, No. 2:19-cv-03246-SDM-EPD,

 S.D. Ohio) (“Ohio Action”) on July 26, 2019; the United States District Court for the District of

 Massachusetts (Macone v. Sharp Electronics Corporation, No. 1:19-cv-12021-WGY, D. Mass)

 (“Massachusetts Action”) on September 25, 2019; and the United States District Court for the

 Middle District of Florida (Hamm v. Sharp Electronics Corporation, No. 5:19-cv-00488-JSM-

 PRL) (“Florida Action”) on September 25, 2019). Each of these actions involved claims that the

 Class Microwaves contain a defect that causes arcing, which may make the Class Microwaves

 prone to premature failure.

        4.      On July 17, 2020, for purposes of Settlement, Plaintiffs Michael Hamm, Jill Brown,

 Austin Russell, Christian Lammey, Nancy James, Jill Wittman, and Thomas Macone filed a

 Consolidated Amended Complaint in this Court (the “Action”) (Doc. No. 40).

        5.      Prior to negotiating the Settlement in this Action and filing the Consolidated

 Amended Complaint, the Parties engaged in hard-fought litigation in the related actions. On March

 27, 2019, in the California Action, Sharp moved to dismiss the Plaintiffs’ Complaint, and sought

 to stay the action pending resolution of the motion to dismiss. (California Action, ECF Nos. 25



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 and 27). On April 26, 2019, the Plaintiffs in the California Action responded in opposition to

 Sharp’s motions to dismiss and stay (id. at ECF Nos. 38 and 41), and Sharp filed its replies in

 support of its motions to dismiss and stay on May 28, 2019 (id. at ECF Nos. 42 and 43). On June

 20, 2019, the court in the California Action heard oral argument from both Parties. On June 25,

 2019, the court entered an Order confirming its ruling from the bench, which granted the motion

 to dismiss only as to the Plaintiffs’ claim for unjust enrichment, and denied the remaining motion,

 and further denied Sharp’s motion to stay. (Id. at ECF No. 46). Plaintiffs Brown and Russell

 subsequently filed a First Amended Complaint on August 22, 2019 (id. at ECF No. 55), which

 Sharp answered on September 19, 2019 (id. at ECF No. 56). In its Answer, Sharp included thirty-

 three (33) affirmative defenses including, among others, lack of standing, expiration of statute of

 limitations, disclaimer or limitation of warranties, lack of privity, comparative fault, and failure to

 mitigate. (Id. at ECF No. 56, at 34-40). Following the ruling on Sharp’s motions to dismiss and

 stay in the California Action, the Parties spent considerable time developing a coordinated joint

 discovery plan (“Joint Discovery Plan”) to be applied across all five related actions. Class Counsel

 and Sharp’s Counsel engaged in numerous meet and confer discussions, both via telephone and in

 writing, regarding the Joint Discovery Plan to be proposed to the court in the California Action per

 the court’s request. The comprehensive Joint Discovery Plan was intended to apply to all related

 actions and outlined the Parties’ agreement as to all of the significant aspects of discovery to be

 undertaken. In July of 2019, the Joint Discovery Plan was submitted to the Court, and on August

 2, 2019, the Parties appeared for a status conference regarding the remaining disputed issues in the

 Joint Discovery Plan.

        6.      On July 12, 2019, in the related Georgia Action, Sharp moved to dismiss Plaintiff

 Lammey’s complaint (Georgia Action, ECF No. 28), and Plaintiff Lammey filed a First Amended



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 Complaint on August 23, 2019 (id. at ECF No. 36). Sharp filed another motion to dismiss on

 September 27, 2019 (id. at ECF No. 38), and Plaintiff Lammey responded in opposition to the

 motion to dismiss on November 19, 2019 (id. at ECF No. 42).

        7.      On October 14, 2019, in the related Ohio Action, Sharp moved to dismiss Plaintiffs

 James and Wittman’s complaint (Ohio Action, ECF No. 29), and the Plaintiffs’ response was

 extended and ultimately stayed while the Parties worked toward resolution of all of the pending

 actions (Ohio Action, ECF Nos. 37 and 42). Sharp made known its intention to file similar motions

 to dismiss in the Florida Action and Massachusetts Action but did not do so given deadline

 extensions related, in part, to settlement negotiations. The Parties attended several status

 conferences with the Ohio court by telephone.

   The Settlement Achieves an Excellent Result for the Settlement Class and Is the Result of
       Extensive Investigation, Hard-Fought Litigation, and Arms-Length Negotiations

        8.      The Settlement was reached only after Class Counsel engaged in substantial

 investigation of the alleged defect in the Microwaves through consumer interviews, inspection,

 testing, and analysis of the Microwaves by a well-qualified engineering consultant, review of

 relevant discovery, complex motion practice, and nearly one year of settlement negotiations.

        9.      The negotiations with Sharp were complex, and involved detailed, lengthy and

 repeated discussions regarding virtually every provision of the Settlement Agreement and its many

 exhibits, including the structure of the Settlement itself and the claims process, and a myriad of

 other related issues.

        10.     The Parties’ settlement negotiations took place over the course of approximately

 eleven (11) months, and included two (2) lengthy mediations, and numerous follow-up

 discussions, with the aid of U.S. Magistrate Judge Diane M. Welsh (Ret.), a neutral mediator who

 has substantial experience mediating class actions.

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         11.     The Parties’ settlement discussions began in August of 2019. To aid in those

 discussions, the Parties requested and exchanged discovery pursuant to Rule 408 of the Federal

 Rules of Evidence, prior to attending mediation.

         12.     Plaintiffs and Class Counsel entered into settlement negotiations with substantial

 information about the nature and extent of the challenged practices, and the merits of the legal

 claims and factual allegations. Plaintiffs and Class Counsel had the benefit of an engineering

 consultant’s testing and investigation of the Class Microwaves, as well as the ability to review key

 documents in this matter.

         13.     Review of this information positioned Class Counsel to evaluate with confidence

 the strengths and weaknesses of Plaintiffs’ claims and prospects for success at class certification,

 summary judgment, and trial.

         14.     On November 25, 2019, the Parties participated in a lengthy in-person mediation

 session with Judge Welsh at JAMS in New York, New York. During the mediation, the Parties

 exchanged additional discovery pursuant to Rule 408, which aided the settlement discussions.

 Although the Parties were able to make substantial progress toward the settlement of the Action,

 the Parties were unable to fully resolve this matter at the first in-person mediation.

         15.     On January 27, 2020, the Parties participated in a second in-person mediation

 session with Judge Welsh at JAMS in New York, New York, at which time the Parties engaged in

 further arm’s-length negotiations. They were able to resolve additional issues regarding settlement,

 but were still unable to fully resolve this matter at that time.

         16.     Following the second in-person mediation session, the Parties continued their

 arm’s-length negotiations over the course of several telephonic discussions with the participation

 of Judge Welsh.



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        17.      Finally, on or about February 20, 2020, the Parties agreed to the final material terms

 of the Settlement, after which they continued their discussions and negotiations of the finer details

 of the Settlement.

        18.      Over a span of approximately five more months, the Parties worked diligently and

 expended a substantial amount of time and effort to finalize the terms of the Settlement Agreement

 and ancillary documents, and the plan for class notice, which was completed in July 2020. During

 this time, the Parties conducted detailed negotiations regarding the language of the class notice

 and claim forms, and the methodology of the notice plan. Id.

        19.      On July 27, 2020, the Parties filed their Motion for Preliminary Approval of the

 Proposed Class Settlement (ECF No. 44), which the Court granted on August 5, 2020 (ECF No.

 46).

        20.      The Settlement Class consists of the following, as more fully defined in Paragraph

 1.37 of the Settlement Agreement:

        All persons residing in the United States who, at any time during the Class Period, became
        the First Consumer Purchaser of a Class Microwave.

        21.      The Agreement provides the following benefits to the Class:

        •        Extended Warranty: All Class Members shall receive an extension of the existing

        manufacturer’s warranty for documented arcing claims within any Class Microwave. The

        Extended Warranty shall extend the term of the existing manufacturer’s warranty of one

        (1) year for parts and labor, and five (5) years for parts relating only to the magnetron tube,

        to an enhanced extended warranty of five (5) years for documented arcing claims.

        •     Treatment under Extended Warranty:

                 o Replacement Microwave and Reimbursement of Labor and/or Costs: The

                      extended warranty includes the opportunity to receive a new replacement

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                   Microwave, which is comparable to the existing Class Microwave, in the event

                   of a documented arcing claim, along with reimbursement of any labor and/or

                   costs in connection with the documented arcing claim of up to $150.00 per class

                   member.

               o Cash Option and Reimbursement of Labor and/or Costs: In lieu of a

                   replacement Microwave, consumers who have a documented arcing claim

                   during the extended five (5) year warranty period may select a $250 cash

                   payment. Settlement Class Members who elect this cash payment remain

                   entitled to reimbursement of any labor and/or costs in connection with

                   documented arcing claims of up to $150.00 per Settlement Class Member.

               o Voucher and Reimbursement of Labor and/or Costs: In lieu of a replacement

                   Microwave or Cash Payment, consumers who have a documented arcing claim

                   may select a $500 voucher for Sharp-branded merchandise. Settlement Class

                   Members who elect this option remain entitled to reimbursement of any labor

                   and/or costs in connection with documented arcing claims of up to $150.00 per

                   Settlement Class Member.

               o Consequential Damages: Settlement Class Members who elect either the cash

                   payment or voucher option may also seek reimbursement for consequential

                   damages of up to $200, for costs incurred to repair or cover the opening in a

                   Settlement Class Member’s kitchen cabinetry in which their Microwave was

                   installed.

        22.    In addition, any Settlement Class Member who can establish, with documented

 proof, that their Class Microwave experienced a documented arcing claim within five (5) years of



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 the date of purchase or installation of their Microwave, who did not previously receive a

 replacement Microwave, is entitled to replacement of their Microwave, or to the cash or voucher

 option, as described herein. Thus, Settlement Class Members who no longer possess their

 Microwave, or who possessed a Microwave for a period beyond the five (5) year extended

 warranty, but experienced a documented arcing claim within five (5) years of the date of purchase

 or installation of their Microwave, have an opportunity to participate in the Settlement.

        23.     Further, Sharp shall pay all Notice and Administration Costs directly to the

 Settlement Administrator, as such costs and expenses are invoiced, and Sharp shall pay the

 Attorney Fee and Expense Award.

        24.     The maximum of amount of Attorneys’ Fees and Expenses for which Class Counsel

 may apply pursuant to paragraph 9.4 of the Settlement Agreement is $3,000,000.00 and was

 negotiated independently from the other terms of the Settlement after a settlement in principle was

 reached on all other material terms, under the supervision and with the assistance of Judge Welsh.

        25.     Importantly, none of the attorneys’ fees or expenses (or related items) negatively

 impact the Class benefits, and specifically are not paid out of any settlement proceeds secured for

 the Class by Class Counsel. As a result, the attorneys’ fees and expenses have no impact on the

 benefits available to the Settlement Class.

        26.     The benefits afforded by the Settlement reflect a reasoned compromise which take

 into consideration the risks inherent in all complex class litigation, and the numerous issues

 particular to this Action. Plaintiffs and Class Counsel are confident in the strength of their case,

 but they are also pragmatic in their awareness of the various defenses available to Sharp, which

 are complex. The risks and obstacles in this case are just as great as those in other product defect

 class actions and this case would likely have taken years to successfully prosecute, with the risk



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  that there would be no recovery at all. Recovery, if any, by any means other than settlement would

  require additional years of litigation in the district courts and on appeal. If this Action was not

  settled and was required to proceed to trial, the Parties would incur significant additional expenses,

  including the further payment of expert witnesses and technical consultants, along with substantial

  time devoted to briefing Plaintiffs’ motion for class certification, Daubert motions, and summary

  judgment motions, preparing for and conducting trial, post-trial motion practice, and appeal, all of

  which could have impacted the recovery in this Action. The proofs necessary to prevail at trial

  would be greater than what is required under the Settlement. Settlement Class Members may

  receive relief under the Settlement with limited documentation and a simple Claim Form. Under

  the circumstances, Plaintiffs and Class Counsel appropriately determined that the Settlement is the

  best vehicle for the Settlement Class to receive the relief to which they are entitled in a prompt and

  efficient manner.

         27.     In sum, the Settlement includes substantial benefits for Class Members and multiple

   options for recovery, including an automatic extension of their Microwave warranty; options of

   full replacement, a cash option, or a voucher option; and reimbursement of labor expenses and

   consequential damages. The Settlement, which has been estimated by an expert to be valued

   between approximately $103,049,520 to $113,884,064, is fair and reasonable in light of Sharp’s

   defenses, and the challenging, unpredictable path of litigation Plaintiffs would have faced absent

   a settlement. See Exhibit A, Bernatowicz Declaration.

                 The Skill, Experience, Reputation, and Ability of Class Counsel

         28.       Class Counsel has significant experience in the litigation, certification, trial, and

  settlement of national class actions, including numerous claims against appliance and product

  manufacturers, and have recovered hundreds of millions of dollars for the classes they have



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  represented. Class Counsel includes firms with appellate expertise, which was used to extensively

  analyze the chances of success in both the Federal Appellate Courts and the U.S. Supreme Court.

  The experience, resources, and knowledge Proposed Class Counsel brings to this Action is

  extensive and formidable.

         29.        Class Counsel have devoted substantial time and resources to this Action, are

  qualified to represent the Settlement Class, and will, along with the Class Representatives,

  vigorously protect the interests of the Settlement Class. See Exhibit B (Firm Resumes of Proposed

  Class Counsel).

         30.        As more fully detailed in the Firm Resume of Greg Coleman Law PC, Greg

  Coleman and his firm have been recognized by courts across the country for their successful

  handling of complex class action cases. Proposed Class Counsel, Gregory Coleman, Rachel Soffin,

  and Lisa White of Greg Coleman Law PC, have collectively prosecuted complex class actions for

  decades, and have successfully obtained class certification, been appointed lead class counsel, and

  obtained approval of class action settlements valued at hundreds of millions of dollars. Greg

  Coleman Law PC is an AV rated, full-service plaintiffs’ law firm composed of a carefully

  assembled, talented group of attorneys with sound judgment, exceptional skills, and broad

  expertise. The firm was ranked among the 2015 “Best Law Firms” by U.S. News & World Report

  and Best Lawyer and received the 2014 and 2015 Litigator Awards from the Trial Lawyers Board

  of Regents. Greg Coleman Law PC has successfully led and litigated numerous product defect

  cases, including Berman, et al. v. General Motors LLC, No. 2:18-cv-14371-RLR (S.D. Fla.);

  Chapman v. TriStar Products, Inc., No. 1:16-cv-1114 (N.D. Ohio); Dickerson v. York

  International Corporation (M.D. Penn.); Sullivan, et al., v. Fluidmaster, Inc., No. 1:14-cv-05696

  (N.D. Ohio); Klug v. Watts Regulator Co., No. 8:15-cv-00061-JFB-FG (D. Neb); Moreno v. Toyota



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  Motor Sales, No 2:14-cv-07636-GHK-FFM (C.D. Cal.); O’Keefe v. Pick Five Imports, Inc. No,

  8:18-cv-1496-MSS-AEP (M.D. Fla.); Roberts v. Electrolux Home Products, Inc. No, 8:12-cv-

  01644-CAS-VBK (C.D. Cal.); Rysewyk v. Sears Holding Corporation, No. 1:15-cv-4519-MSS

  (N.D. Ill.); Samuel v. Chrysler Group LLC, No. 8:14-cv-01609 (C.D. Cal.); Stedman v. Mazda

  Motor Corp., No 8:14-cv-01608 (C.D. Cal.); and White v. Nutribullet, LLC, No. 2:18-cv-05785-

  AB-AS (C.D. Cal.), among many others.

         31.       Greg Coleman is the founder and managing partner of Greg Coleman Law PC.

  With more than 30 years of trial and litigation experience, Mr. Coleman’s nationwide practice

  focuses on consumer class actions and complex civil litigation with a focus on defective products.

  Mr. Coleman has tried more than 100 jury trials (and countless other bench trials) in areas of

  complex class action cases, medical malpractice, wrongful death, product liability, toxic tort and

  other areas over the course of my years of practice. He was co-lead counsel in a defective products

  case against Electrolux in Roberts v. Electrolux, No. 8:12-cv-01644 (C.D. Ca.) where Mr. Coleman

  and his co-counsel successfully obtained a settlement on behalf of a class of more than one million

  members regarding defectively manufactured dryers. The settlement resulted in an expected

  utilization settlement value of over $35,000,000.00. Mr. Coleman was also co-lead counsel in a

  series of automobile defect class actions against General Motors in Florida, Illinois, and California,

  in which he and co-counsel successfully obtained a $42 million settlement on behalf of a class of

  1.6 million consumers regarding excessive oil consumption. Greg Coleman was also lead trial

  counsel involving 15,000 plus retirees of Alcoa, Inc. Claims were made pursuant to ERISA and

  the LMRA in the Alcoa case, and a trial was conducted in September and October, 2009. Mr.

  Coleman was also lead trial counsel involving 3,500 retirees of AK Steel in Merkner v. AK Steel,

  No. 1:09-CV-423-TSB, S.D. Ohio (class action claims arising under ERISA in regard to employee



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  welfare benefits), and obtained a settlement in the total amount of $178,600,000.00. Mr. Coleman

  was lead trial counsel involving a class of over 250 retirees of AK Steel’s Zanesville Works Plant

  in Lowther v. AK Steel, No. 1:11-cv-00877, S.D. Ohio (class action claims arising under ERISA

  in regard to employee welfare benefits), and obtained a $15,800,000.00 settlement on behalf of the

  class. Mr. Coleman is listed in Best Lawyers in America in two separate categories and has been

  named one of the Top 100 Trial Lawyers by the American Trial Lawyers Association. He was

  named as Best Lawyers of America Lawyer of the Year in Products Liability and was also named

  by the U.S. News and World Report as one of the best lawyers and law firms in the country.

  Additionally, Mr. Coleman has been recognized as one of Knoxville’s Top Attorneys in eight

  separate categories. Mr. Coleman is proud to have been recognized by his colleagues through

  nomination to the Martindale-Hubbell Bar Register of Preeminent Lawyers which includes only

  those select law practices that have earned the highest rating in the Martindale-Hubbell Law

  Directory and have been designated by their colleagues as preeminent in their field. He is AV

  Peer Review rated by the Martindale Hubble Legal Rating System and is a Charter Member and

  Senior Fellow of the Litigation Counsel of America.          Mr. Coleman is a Mid-South Super

  Lawyer representing the top five percent of Arkansas, Mississippi, and Tennessee attorneys. He

  is a lifetime member of the prestigious Multi-Million Dollar Advocates Forum, an organization

  whose members is limited to attorneys who have won multi-million-dollar verdicts and

  settlements. Mr. Coleman is also a Charter member of the Knoxville Chapter of the American

  Inns of Court and a member of the American Association for Justice and Public Justice. He has

  been featured in Newsweek Magazine in their Showcase of Nationwide Top Attorneys, and

  regularly serves as a guest lecturer and speaker on a variety of class action-related topics.

         32.       Rachel Soffin is a senior attorney at Greg Coleman Law PC. Ms. Soffin has spent



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  the majority of her 15-year career prosecuting class action cases, including state and federal class

  actions involving product defects, deceptive trade practices, privacy violations, and insurance and

  banking disputes. She has been appointed by courts to serve on Plaintiffs’ Steering Committees

  and as co-lead counsel in product defect class actions and has represented consumers in numerous

  successful class actions. Representative class action cases that Ms. Soffin has successfully

  litigated include the following: Berman, et al. v. General Motors LLC, No. 2:18-cv-14371-RLR

  (S.D. Fla.) ($40 million value settlement for consumers whose vehicles experienced excessive oil

  consumption and resulting damages); Price, et al. v. L’Oréal USA, Inc., et al., No. 1:17-cv-00614

  (S.D.N.Y.) (certified class action for alleged deceptive conduct involving labeling of hair care

  products); De Leon v. Bank of America, N.A. (USA), No. 6:09-cv-01251-JA-KRS (M.D. Fla.),

  ($10 million settlement for consumers subjected to violations of the Fair Credit Billing Act, a

  breach of their Cardholder Agreement and deceptive trade practices); Swift v. Bank of America,

  No. 3:14-cv-01539 (M.D. Fla.) ($1 million settlement for consumers subjected to TCPA

  violations); In re: Horizon Organic Milk Plus DHA Omega-3 Marketing and Sales Practice

  Litigation, 1:12-MD-02324-JAL (S.D. Fla.) ($1.3 million settlement value for consumers

  subjected to deceptive trade practices for misrepresentations regarding a milk product); In re:

  Tracfone Unlimited Service Plan Litigation, No. 13-cv-03440-EMC (N.D. Cal.) ($40 million

  settlement for consumers subjected to deceptive cellular phone data plan practices). Ms. Soffin

  also currently holds leadership positions in the following cases: In Re: Allergan Biocell Textured

  Breast Implant Products Liability Litigation, MDL No. 2921, No. 2:19-md-02921 (BRM)(JAD)

  (D. NJ. Feb. 25, 2020) (ECF No. 69); In re: Deva Concepts Products Liability Litigation, No.

  1:20-cv-01234-GHW (S.D.N.Y, July 30, 2020) (ECF No. 66); Price, et al. v. L’Oréal USA, Inc.,

  et al., No. 1:17-cv-00614 (S.D.N.Y.). In addition, Ms. Soffin has been designated by Super



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  Lawyers as a Florida Rising Star (2011-2013), and as a Florida Super Lawyer (2014-2018) in the

  fields of Class Actions/Mass Torts.

         33.       Lisa White is a senior attorney at Greg Coleman Law PC. She began practicing

  law in 2007 after a prior career in research and higher education. The majority of her federal

  practice is in the areas of complex litigation and class action cases, with a focus on product defect

  class actions. Lisa has a passion for pursuing companies that refuse to “do the right thing” by

  recalling or repairing defective products or reimbursing consumers for damages caused by the

  defects. She puts her extensive trial and appellate experience to good use pursuing such claims on

  behalf of consumers. Ms. White holds or has held lead roles in numerous class cases involving

  product safety defects across the country, including \O’Connor v. Ford, No. 1:19-cv-05045 (N.D.

  Ill.) (a pending case related to defective transmissions in recent model year Ford F-150 trucks);

  Floyd v. American Honda Motor Co., Inc., No. 18-55957 (C.D. Cal., 9th Circuit Court of Appeals)

  (a matter related to rollaway Civics for which Ms. White led the appellate team); Rojas v. American

  Honda Motor Company, Inc. No. 2:19-cv-10136 (C.D. Cal.) (a pending case related to rollaway

  Civics); and Weston, et al. v. Subaru (currently pending D.N.J. case number 1:20-cv-05876, related

  to unintended acceleration of certain Subaru vehicles). In addition, she is co-lead counsel on a

  number of pending airline labor cases including Hirst, et al. v. SkyWest Airlines, Inc. and its sister

  case, Tapp et al. v. SkyWest Airlines, Inc. (flight attendant wage cases, both pending in the N.D.

  of Ill., case numbers 1:15-cv-02036 and 1:15-cv-11117, after Ms. White and the appellate team

  prevailed on appeal to the Seventh Circuit), and Meek, et al. v. SkyWest Airlines, Inc. (a ramp agent

  case currently pending in the N.D. of California, case number 3:17-cv-01012).

         34.       Proposed Class Counsel Daniel Bryson and Harper Segui of Whitfield Bryson

  have collectively prosecuted complex class actions for decades. Whitfield Bryson, LLP has



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  litigated numerous class action cases, which have cumulatively resulted in more than a billion

  dollars in recovery for consumers, including Ersler, et. al v. Toshiba America et. al, No. 07- 2304

  (D.N.J.)(settlement of claims arising from allegedly defective television lamps) (2009); Maytag

  Neptune Washing Machines (class action settlement for owners of Maytag Neptune washing

  machines); Stalcup, et al. v. Thomson, Inc. (Ill. Cir. Ct.) ($100 million class settlement of claims

  that certain GE, PROSCAN and RCA televisions may have been susceptible to temporary loss of

  audio when receiving broadcast data packages that were longer than reasonably anticipated or

  specified) (2004); Hurkes Harris Design Associates, Inc., et al. v. Fujitsu Computer Prods. of Am.,

  Inc. (settlement provides $42.5 million to pay claims of all consumers and other end users who

  bought certain Fujitsu Desktop 3.5” IDE hard disk drives) (2003); Turner v. General Electric

  Company, No. 2:05-cv-00186 (M.D. Fla.) (national settlement of claims arising from allegedly

  defective refrigerators) (2006); In re General Motors Corp. Speedometer Prods. Liability Litig.,

  MDL 1896 (W.D. Wash.) (national settlement for repairs and reimbursement of repair costs

  incurred in connection with defective speedometers) (2007); Baugh v. The Goodyear Tire &

  Rubber Company (class settlement of claims that Goodyear sold defective tires that are prone to

  tread separation when operated at highway speeds; Goodyear agreed to provide a combination of

  both monetary and non-monetary consideration to the Settlement Class in the form of an Enhanced

  Warranty Program and Rebate Program) (2002); Lubitz v. Daimler Chrysler Corp., No. L-4883-

  04 (Bergen Cty. Super. Ct, NJ 2006) (national settlement for repairs and reimbursement of repair

  costs incurred in connection with defective brake system; creation of $12 million fund; 7th largest

  judgment or settlement in New Jersey) (2007); Berman et al. v. General Motors LLC, Case No.

  2:18-cv-14371 (S.D. Fla.) (Co-Lead Counsel; national settlement for repairs and reimbursement

  of repair costs incurred in connection with Chevrolet Equinox excessive oil consumption); In re



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  MI Windows and Doors, Inc., Products Liability Litigation, MDL No. 2333 (D.S.C) (National

  class action settlement for homeowners who purchased defective windows; Court-appointed Co-

  Lead Counsel); In re: Zurn Pex Plumbing Products Liability Litigation, No. 0:08-md-01958, MDL

  No. 1958 (D. Minn.) (class action arising from allegedly plumbing systems; member of Executive

  Committee; settlement) (2012); Hobbie, et al. v. RCR Holdings II, LLC, et al., No. 10-1113 , MDL

  No. 2047 (E.D. La.) ($30 million settlement for remediation of 364 unit residential high-rise

  constructed with Chinese drywall) (2012); In re: Chinese Manufactured Drywall Products

  Liability Litigation, No. 2:09-md-02047, MDL No. 2047 (E.D. La.) (litigation arising out of

  defective drywall) (appointed Co-Chair, Insurance Committee) (2012); Galanti v. Goodyear Tire

  & Rubber Co., No. 03-209 (D.N.J. 2003) (national settlement and creation of $330 million fund

  for payment to owners of homes with defective radiant heating systems) (2003); In re Synthetic

  Stucco Litig., Civ. Action No. 5:96-CV-287-BR(2) (E.D.N.C.) (member of Plaintiffs’ Steering

  Committee; settlements with four EIFS Manufacturers for North Carolina homeowners valued at

  more than $50 million).

         35.       Daniel Bryson is a founding partner of Whitfield Bryson, LLP, and has spent

  more than 32 years representing individuals in consumer class actions, mass torts, and various

  other types of litigation. He has tried numerous cases, many of which have resulted in multi-

  million-dollar verdicts. Mr. Bryson has been appointed as Lead Counsel in multiple cases

  consolidated into multi-district litigation, and has served on several Plaintiffs’ Steering

  Committees and in other leadership positions. Many of those class actions have likewise resulted

  in multi-million-dollar settlement recoveries for consumers. Similarly, Mr. Bryson has been

  appointed as Class Counsel in numerous actions certified by courts. Consequently, Mr. Bryson is

  a frequent lecturer and writer on a variety of consumer class action, insurance, and mass tort related



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  disputes. He has been quoted by a variety of media outlets over the years, including the Wall

  Street Journal, Washington Post, New York Times, Law360, and Lawyers Weekly to name a few.

  He has been named as a member of the Legal Elite and Super Lawyers in North Carolina on

  numerous occasions. He has been awarded the designation of one of the Top 25 lawyers in Raleigh

  by Charlotte Magazine for a number of years including 2020. Mr. Bryson is on the Executive

  Board and Vice-President of the Public Justice Foundation Board. Public Justice is a nationwide

  public interest law firm.    See www.publicjustice.net for more information about this great

  organization. He is also an adjunct professor at Campbell Law School in Raleigh, NC, where he

  teaches “Introduction to Class Actions and Multi-district litigation.”

         36.       For more than 14 years, Harper Segui has represented plaintiffs in complex

  litigation and class actions, with a particular focus on product defects. She has several times been

  appointed by courts to serve on Plaintiffs’ Steering Committees in multi-district litigation, and has

  served as co-class counsel in several class actions. Likewise, Ms. Segui enjoyed playing active

  roles in multi-district litigation involving defective products. In the successful resolution of many

  of those cases, she contributed to millions of dollars in settlement money recovered for consumers.

  Since 2013, Harper has been regularly selected to Super Lawyers as a Top-Rated Attorney in the

  areas of “Class Action & Mass Torts.” She has co-authored several publications on product

  liability cases, and has been a lecturer on complex legal issues.

         37.       Proposed Class Counsel Hassan A. Zavareei and Andrea R. Gold of Tycko &

  Zavareei LLP have collectively prosecuted complex class actions for decades. Tycko & Zavareei

  LLP’s practice focuses on complex litigation, with a particular emphasis on consumer and other

  types of class actions, and qui tam and False Claims Act litigation. Mr. Zavareei and Ms. Gold,

  along with other Tycko & Zavareei LLP attorneys, have successfully obtained class certification,



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  been appointed class counsel, and obtained approval of class action settlements with common

  funds totaling over $500 million.

         38.      Tycko & Zavareei has been named Class Counsel, Lead Counsel, or Settlement

  Class Counsel in consumer class actions styled Shannon Schulte, et al. v. Fifth Third Bank, No.

  1:09-cv-06655 (N.D. Ill.); Kelly Mathena v. Webster Bank, No. 3:10-cv-01448 (D. Conn.); Nick

  Allen, et al. v. UMB Bank, N.A., et al., No. 1016 Civ. 34791 (Cir. Ct. Jackson County, Mo.);

  Thomas Casto, et al. v. City National Bank, N.A., No. 10 Civ. 01089 (Cir. Ct. Kanawha County,

  W. Va.); Eaton v. Bank of Oklahoma, N.A., and BOK Financial Corporation, d/b/a Bank of

  Oklahoma, N.A., No. CJ-2010-5209 (Dist. Ct. for Tulsa County, Okla.); Lodley and Tehani Taulva,

  et al., v. Bank of Hawaii and Doe Defendants 1-50, No. 11-1-0337-02 (Cir. Ct. of 1st Cir., Haw.);

  Jessica Duval, et al. v. Citizens Financial Group, Inc., et al., No. 1:10-cv-21080 (S.D. Fla.);

  Mascaro, et al. v. TD Bank, Inc., No. 10-cv-21117 (S.D. Fla.); Theresa Molina, et al., v. Intrust

  Bank, N.A., No. 10-cv-3686 (18th Judicial Dist., Dist. Ct. Sedgwick County, Kan.); Trombley v.

  National City Bank, No. 1:10-cv-00232-JDB (D.D.C.); Jonathan Jones, et al. v. United Bank and

  United Bankshares, Inc., No. 11-C-50 (Cir. Ct. of Jackson County, W. Va.); Amber Hawthorne, et

  al. v. Umpqua Bank, No. 4:11-cv-06700 (N.D. Cal.); Sylvia Hawkins, et al. v. First Tennessee

  Bank, N.A., No. CT-004085-11 (Cir. Ct. of Shelby County, Tenn.); Jane Simpson, et al. v. Citizens

  Bank, et al., No. 2:12-cv-10267 (E.D. Mich.); Alfonse Forgione, et al. v. Webster Bank, N.A., No.

  UWY-CV12-6015956-S (Super. Ct. Judicial Dist. of Waterbury, Conn.); Sherry Bodnar v. Bank

  of America, N.A., No. 5:14-cv-03224-EGS (E.D. Pa.); Wong v. TrueBeginnings LLC d/b/a

  True.com, No. 3-07 Civ. 1244-N (N.D. Tex.); Geis v. Airborne Health, et. al., Civil Action No.

  2:07 Civ. 4238-KSH-PS (D. N.J.); Dennings, et al. v. Clearwire Corporation, No. 2:10-cv-01859

  (W.D. Wash.); In Re: Higher One Oneaccount Marketing And Sales Practices Litigation, No.



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  3:12-md-02407 (D. Conn.); Galdamez v. I.Q. Data International, Inc., No. 15-cv-1605 (E.D. Va.);

  Brown v. Transurban USA, No. 15-cv-494 (E.D. Va.); Gatinella, et al. v. Michael Kors (USA),

  No. 14-cv-5731 (S.D.N.Y); Grayson, et al. v. General Electric Company, 3:13-cv-1799 (D.

  Conn.); Farrell, et al. v. Bank of America, N.A., No. 3:16-00492 (S.D. Cal.); In re: APA Assessment

  Fee Litigation, 1:10-cv-01780 (D.D.C.); Griffith v. ContextMedia Health, LLC d/b/a Outcome

  Health, No. 1:16-cv-02900 (N.D. Ill.); Scott, et al. v. JPMorgan Chase & Co., No. 17-cv-249

  (D.D.C.); In re Think Finance, LLC, et al., No. 17-bk-33964 (Bankr. N.D. Tex.); Gibbs v. Plain

  Green, LLC, No. 3:17-cv-495 (E.D. Va.); Meta v. Target Corp., et al., No. 14-cv-0832 (N.D.

  Ohio); Petit v. Procter & Gamble Co., No. 15-cv-02150 (N.D. Cal.); Kumar v. Safeway, Inc., et

  al., RG14726707 (Super. Ct. of Cal. Cty. of Alameda); Kumar v. Salov North America Corp., et

  al., 4:14-cv-02411 (N.D. Cal.); and Koller v. Deoleo USA, Inc., Case No. 3:14-CV-02400-RS

  (N.D. Cal.); Stathakos, et al. v. Columbia Sportswear Co., No. 1:16-cv-04543 (N.D. Cal.);

  Robinson v. First Hawaiian Bank, No. 17-1-0167-01 (Cir. Ct. of 1st Cir., Haw.); Hughes v

  Autozone Parts, Inc., No. BC63-l-080 (Super. Ct. State of CA); Harris v. Farmers Insurance, No.

  BC579498 (Super. Ct. State of CA); Harkey v. General Electric Company, No. 3:13-cv-01799 (D.

  Conn.). Each of these actions has resulted in a settlement that has been finally approved.

         39.       Mr. Zavareei graduated from the University of California, Berkeley, School of

  Law in 1995. Prior to that, Mr. Zavareei graduated from Duke University in 1990. Mr. Zavareei

  is admitted to practice in California (Bar No. 181547), the District of Columbia (Bar No. 456161),

  and Maryland (Registration No. 0207150001). After graduation from Berkeley, Mr. Zavareei

  joined the Washington, D.C. office of Gibson, Dunn & Crutcher LLP. In April of 2002, Mr.

  Zavareei founded Tycko & Zavareei LLP with his partner, Jonathan Tycko. Over the past twenty-

  one years, Mr. Zavareei has gained substantial experience handling complex civil litigation and



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  class action litigation. He has taken several cases to trial, including jury trials that have lasted

  several months. He has argued appeals in the D.C. Circuit, the Fourth Circuit, and the Fifth Circuit.

  Mr. Zavareei has been appointed as Class Counsel in numerous class actions.

         40.       Ms. Gold, a graduate of the University of Michigan Law School (J.D., 2004) and

  University of Michigan Business School (B.B.A., 2001), has been in private practice since 2006,

  and a large portion of her practice has involved litigation on behalf of consumers, representing

  individuals and classes injured by predatory banking practices, unlawful insurance practices,

  violations of the Telephone Consumer Protection Act, and other unfair and deceptive business

  practices. Over the past fourteen years, Ms. Gold has gained substantial experience handling

  complex civil litigation and class action litigation. With co-counsel, she has taken two cases to

  trial, including jury trials that have lasted several months. Ms. Gold has been named Class Counsel

  or Settlement Class Counsel in class actions including Jacobs v. FirstMerit Corporation, et. al.,

  No. 11 CV000090 (Ct. Common Pleas, Lake County, Ohio), Maria Vergara v. Uber Technologies,

  Inc., No. 1:15-CV-06942 (N.D. Ill.), Szafarz v. United Parcel Service, Inc., No. SUCV2016-2094-

  BLS2 (Superior Court, Commonwealth of Massachusetts), Jenna Lloyd, et al. v. Navy Federal

  Credit Union, Case No. 3:17-cv-01280 (S.D. Cal.); and Harris v. Farmers Insurance, No.

  BC579498 (Super. Ct. State of CA). The Jacobs litigation resulted in a $15,975,000 settlement

  that has received final approval. The litigation against Uber Technologies, Inc. resulted in a $20

  million settlement that has been finally approved. The litigation against UPS resulted in a

  $995,000 settlement that has been finally approved. The Lloyd litigation resulted in a $24.5

  settlement that has received final approval. The Harris litigation resulted in a $15 million

  settlement that has received final approval. Ms. Gold was first admitted to practice law in 2004 in

  Illinois (Bar No. 6282969), and was later admitted in Washington, D.C. in 2007 (Bar No. 502607),



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  and Maryland in 2013 (Registration No. 201306100006).

          41.      Class Counsel have made every effort to litigate this matter efficiently by

  coordinating the work of all attorneys and paralegals, minimizing duplication, and assigning tasks

  in a time and cost-efficient manner, based on timekeepers’ experience levels and talents. Thus,

  Class Counsel organized and cooperated amongst each other to prosecute the claims of the

  Plaintiffs in an efficient and non-duplicative manner.

          42.    In pursuing this Action on behalf of Plaintiffs and the Settlement Class, Class

  Counsel’s firms expended more than 2,100.00 billable hours to this litigation, often in blocks of

  time that prevented or engagement in other matters. This Motion sets forth the extensive tasks that

  were performed in this action, including the substantial investigation of claims and defenses

  through expert investigation, consumer interviews, discovery, hard-fought litigation of Sharp’s

  motions to dismiss, and contentious, arms-length negotiations over the course of just under one-

  year to ensure the fairness and adequacy of the Settlement.

          43.    The aforementioned billable hours calculation was prepared from contemporaneous

  detailed daily time records regularly prepared and maintained by Class Counsel utilizing

  timekeeping software. In Class Counsel’s opinion, the time spent by attorneys and staff of our

  firms was reasonable and necessary. Indeed, by prosecuting this case purely on a contingency

  basis and not being paid by the hour, Class Counsel worked efficiently and avoided unnecessary

  work.

          44.    Further, in pursuing this Action on behalf of Plaintiffs and the Class, our firms

  expended and advanced $119,073.92, as shown in the below table:




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                         EXPENSE                                        AMOUNT
   Telephone                                                              $115.70

   Travel                                                                $17,690.91
   Postage/Reproduction Costs                                             $528.47
   Filing & Misc. Fees                                                   $5,729.73
   Computer Research                                                     $5,644.99
   Delivery/Service Fees                                                  $356.30
   Advances Costs to Litigation Fund (used to pay                        $57,498.22
   expert bills, consumer investigation, etc.)
   Expert Fees                                                           $23,959.60
   Mediation Fees                                                         $7550.00
                          TOTAL                                         $119,073.92



         45.     Class Counsel anticipates that they will spend additional time and incur additional

  expenses between the date of this filing and the Final Approval Hearing in connection with

  preparing for and attending the Final Approval Hearing. Moreover, additional attorney time will

  be devoted to this case including for preparing the Motion for Final Approval, supervising aspects

  of the administration of the Settlement, answering Settlement Class Member questions, and

  helping resolve any issues that arise.




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  We declare under penalty of perjury that the foregoing is true and correct.



  Executed on October 30, 2020

         /s/ Gregory F. Coleman
         Gregory F. Coleman
         Greg Coleman Law

         /s/ Rachel L. Soffin_____
         Greg Coleman Law

         /s/ Lisa White______
         Greg Coleman Law

         /s/ Harper Segui______
         Harper Segui
         Whitfield Bryson LLP

         /s/ Daniel K. Bryson_____
         Daniel Bryson
         Whitfield Bryson LLP

         /s/ Andrea Gold______
         Andrea Gold
         Tycko and Zavareei LLP

         /s/ Hassan Zavareei__
         Andrea Gold
         Tycko and Zavareei LLP




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                          EXHIBIT A

 EXPERT DECLARATION OF FRANK
         BERNATOWICZ
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10                              UNITED STATES DISTRICT COURT
                              FOR THE MIDDLE DISTRICT OF FLORIDA
11

12

13     MICHAEL HAMM, JILL BROWN,
       AUSTIN RUSSELL, CHRISTIAN                  Civil Action: 5:19-cv-488
14     LAMMEY, NANCY JAMES, JILL
                                                  DECLARATION OF FRANK
       WITTMAN, THOMAS MACONE,                    BERNATOWICZ IN SUPPORT OF
15     individually and on behalf of themselves   PLAINTIFFS’ UNOPPOSED
       and all others similarly situated,         MOTION FOR PRELIMINARY
16                                                APPROVAL OF PROPOSED CLASS
                     Plaintiffs,                  SETTLEMENT
17

18

19                   v.

20     SHARP ELECTRONICS
       CORPORATION,
21

22                   Defendant.

23

24

25

26

27

28
       Civil Action No. 5:19-CV-488
       DECLARATION OF FRANK BERNATOWICZ
     Case 5:19-cv-00488-JSM-PRL Document 53-1 Filed 10/30/20 Page 27 of 106 PageID 648




 1               I, Frank Bernatowicz, declare as follows:

 2               1.       I submit this declaration in support of Plaintiffs, Michael Hamm, Jill Brown,

 3     Austin Russell, Christian Lammey, Nancy James, Jill Wittman and Thomas Macone,

 4     individually and on behalf of themselves and all others similarly situated. I have personal

 5     knowledge of the matters set forth herein, and if called as a witness, could and would

 6     competently testify to them.

 7               2.       I have been retained by Greg Coleman Law PC (“Coleman” or “Class Counsel”)

 8     to review and analyze class damages for settlement purposes in connection with claims brought

 9     by Plaintiffs against Sharp Electronics, Corp. (“Defendant”) in the above captioned class action

10     matter.        My findings regarding benefits to the Class under the Settlement were previously

11     communicated with Class Counsel for settlement and/or mediation discussion purposes and are

12     summarized herein.

13               3.       I have been a damages expert and Professional Engineer for over 35 years. I have

14     been retained in well over 500 cases. My resume and summary of testimony experience are

15     attached as Exhibits A and B, respectively, where I have highlighted 145 cases in which I have

16     been retained, including testimony at 34 trials and approximately 100 depositions.

17               4.       I received my Bachelor of Science Degree in Electrical Engineering from the

18     University of Illinois, Champaign-Urbana in 1976. In 1981, I graduated from Loyola University

19     with a Master of Business Administration in Finance. I became a Certified Public Accountant in

20     1984.

21               5.       Between 1976 and 1984, I was employed by Commonwealth Edison Company in

22     various management positions including substantial “hands-on” experience in the management

23     of engineering projects. In 1984, I joined the Brenner Group, a management consulting firm

24     specializing in providing financial advisory and litigation services, as a senior consultant. I

25     joined Ernst & Whinney in 1985 (now known as Ernst & Young LLP) and had been a partner in

26     that firm with responsibility as partner-in-charge of the Midwest Region Litigation Services

27     practice and as national director of the intellectual property practice. I joined Jay Alix &

28     Associates in 1996 where I served as Managing Principal of the Chicago office. In 1999 I joined
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     Case 5:19-cv-00488-JSM-PRL Document 53-1 Filed 10/30/20 Page 28 of 106 PageID 649




 1     PricewaterhouseCoopers as Managing Partner of the Midwest Region Intellectual Property

 2     Practice. In 2001 I joined BDO Seidman as Managing Partner of Specialized Services.

 3             6.      In 2003, I formed FAB Advisory Services, LLC, which was later acquired by

 4     Huron Consulting Group Inc., where I was a Managing Director in the Disputes and

 5     Investigations practice. In 2008, I formed a new firm under the name of FAB Group, Inc., where

 6     I am currently the Managing Principal.

 7             7.      I am a member of the American Institute of Certified Public Accountants

 8     (“AICPA”), the Illinois CPA Society, Licensing Executives Society, the National Society of

 9     Professional Engineers, and the Turnaround Management Association.

10             8.      In connection with this case, I have reviewed certain pleadings, documents and

11     sources of information provided to me by proposed Class Counsel, including the Settlement

12     Agreement, as well as performed my own independent research on pertinent issues such as

13     pricing and margin for the Product (Microwave Oven Drawers or MODs) which are the subject

14     of this action, applicable extended warranty (“Service Contract”) pricing offered from seven

15     major retailers for the aforementioned Product (six different models), researched and analyzed

16     the business terms and conditions of those Service Contracts, and reviewed and analyzed

17     performance data, such as unit sales data, wholesale value of the Product sales, production run

18     start dates and exchanged units for six models of the Product (as provided by Defendant), as well

19     as reviewed and analyzed various public financial, accounting and business information

20     pertaining to the Defendant and the Product.

21             9.      Based on my knowledge and experience and my review of information in

22     connection with this matter, I am familiar with, understand, and have knowledge of the material

23     set forth in this declaration.

24             10.     It is my understanding that the “Settlement Class” is defined as: all persons

25     residing in the United States who, at any time during the Class Period, became the First

26     Consumer Purchaser of a Class Microwave, as defined in the Settlement Agreement.

27             11.     As stated above, I have reviewed and analyzed class damages for settlement

28     purposes in this class action matter, and my findings regarding four benefits (Benefit #1– #4) to
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       DECLARATION OF FRANK BERNATOWICZ
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 1     the Settlement Class under the Settlement are summarized, organized by the type of settlement

 2     benefit, below.

 3                                              Benefit #1: Extension of Warranty

 4              12.      It is my understanding that the proposed Settlement includes a benefit wherein all

 5     Settlement Class Members receive an extension of the existing manufacturer’s one-year warranty

 6     to a total of five (5) years for Documented Arcing Claims from the date of installation or 30 days

 7     after date of purchase, whichever is earlier, with proof of date of purchase or installation to be

 8     provided by the Class Member upon submission of any claim.

 9              13.      To this regard, I have reviewed and analyzed the aforementioned Extension of

10     Warranty Benefit Value to the Settlement Class. For purposes of my analysis, I have assumed

11     the following: (1) every Settlement Class member receives an extension of warranty benefit

12     under the proposed settlement; (2) the current five year warranty cost, based on actual extended

13     warranty pricing from seven major retailers, may be reasonably expressed as a percentage of the

14     Product’s (MOD) current retail price (referred to as “Warranty Benefit %”)1; and (3) the value of

15     the Extension of Warranty Benefit is reasonably quantified based upon the formula:

16              Microwave Retail Sales Dollars multiplied by the aforementioned Warranty Benefit

17              % equals Extension of Warranty Benefit Value.

18              14.      My analysis is based on the above assumptions and further includes the following

19     analytical procedures: First, I reviewed and analyzed information provided by Sharp relating to

20     certain performance data from the Product and the six models at issue in this matter. This

21     information from Sharp included production sale start dates, total sales quantities, and quantity

22     of exchanged units for each Product model (“MOD” or “MODs”) through July 31, 2019. 2 In a

23     1
         I compared these figures to the extended warranty pricing produced by Plaintiff Jill Brown, which shows that
24     Sharp charges the following to consumers for the purchase of an extended warranty on the MODs: (a) $68.00 for a
       one year extension of the manufacturer’s one-year warranty (total of two years coverage), (b) $102 for a two-year
       extension of the manufacturer’s one-year warranty (total of three years coverage), and (c) $153 for a three-year
25
       extension of the manufacturer’s one-year warranty (total of four years coverage). The figures from my review of the
       extended warranty costs charged by seven major retailers are less than the amount charged by Sharp, and thus my
26     reliance on the prices charged by the major retailers to calculate the value of the Settlement, rather than on the costs
       of Sharp’s extended warranty, yields a conservative outcome.
27     2
         Source: 20191127113140591.pdf for sales thru 7/31/2019; additional sales quantity to 12/31/19 forecast based on
       monthly trend of last production run of each MOD.
28
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 1     recent update, the total sales quantity of all MODs for all the production starts was reported by

 2     Sharp through May 31, 2020 to be 549,035 units. 3 (See Exhibit 4).

 3             15.      Second, I researched current retail sales prices for the Product (each of the six

 4     MODs, where available), based on available pricing from seven large appliance retailers (Lowes,

 5     Home Depot, Best Buy, ABT, Walmart, Amazon and Sears Marketplace sellers). From this

 6     Product pricing information, along with the aforementioned total sales quantity, I then calculated

 7     the average Product price per MOD. (See Exhibit 3).

 8             16.      Third, I researched applicable extended warranty pricing offered from seven

 9     major retailers for the aforementioned Product and the six different MODs, focusing on extended

10     warranty terms most approximate (warranty extensions totaling 5 years of protection, include

11     magnetron as covered component) to the extension of warranty found in the Settlement. 4 From

12     this extended warranty pricing information, I then calculated for each MOD the percentage of the

13     extended warranty price (or cost to the consumer) to the average price of each MOD – I refer to

14     this calculation in my analysis as Warranty Cost (% of Sales).

15             17.      Fourth, I then calculate the Warranty Cost $ for each MOD by multiplying the

16     respective Sales Quantity by the average per unit current retail price (discussed above), which

17     yields an estimate of the retail sales dollars (Sales $ Retail) for each MOD. I then multiply the

18     Sales $ Retail for each MOD by the Warranty Cost (% of Sales) for each MOD, which yields the

19     Warranty Cost $ value per MOD. For example, for MOD KB6524PS, the formula is illustrated

20     as follows: Sales Quantity (247,914 units) multiplied by the average per unit current retail price

21     of $904.28, which yields estimated Sales $ Retail (retail sales dollars) of $224,184,734. I then

22     calculate the Warranty Cost $ value for MOD KB6524PS as follows:                            Sales $ Retail of

23     $224,184,734 multiplied by the Warranty Cost (% of Sales) percentage of 16%, yields a

24     Warranty Cost $ value for MOD KB6524PS of $35,177,757.

25
       3
         Source: Sharp MOD Spreadsheet - May 2020.pdf.
26     4
         Source: Extended Warranty Pricing FW Sharp Case 9113550_.pdf; email dated 12/10/18 from Raven Edmonds
27     indicates Sharp offers 1, 2 & 3-year warranty extension coverage (above standard 1-year warranty) for $68, $102 &
       $153 respectively.
28
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 1            18.     Lastly, to calculate the Total Extension of Warranty Benefit, I then add each

 2     Warranty Cost $ for all six MODs, which yields $97,292,580.

 3            19.     On the aforementioned bases, in my opinion, Total Extension of Warranty

 4     Benefit amounts to $97,292,580, or $177.21 per Product purchased. (See Exhibit 2).

 5                                    Benefit #2: Product Replacement Offer

 6            20.     It is my understanding that the Settlement includes a benefit wherein Settlement

 7     Class Members who experience a Documented Arcing Claim during the Extended Warranty

 8     period may select: (1) a replacement MOD, or (2) a $250 cash payment, or (3) a $500 voucher

 9     for Sharp-branded merchandise (together the “Replacement Offer”).

10            21.     To this regard, I have reviewed and analyzed the aforementioned Replacement

11     Offer Value to the Settlement Class. For purposes of my analysis, I have assumed that this

12     benefit, now providing coverage for years two through five, includes additional failures from this

13     extended period. As described above, the current Sharp one-year warranty provided possible

14     replacement of a defective unit from the date of installation or 30 days after date of purchase,

15     whichever is earlier. As such, the current Sharp sales and returns data reviewed represents

16     returns under the one-year warranty limitation (Year 1 return). I have assumed the additional

17     cumulative failure rate for years two through five to be the same as the Year 1 Return rate of

18     2.5% (per Sharp), resulting in an estimated cumulative 5-year failure rate of 5.0%. This estimate

19     is less than the 5.7% total cumulative failure rate I calculated using the actual weighted average

20     extended warranty price to the consumer of 17.0% and estimated warranty markup-to-price

21     percentage of 200%. I then calculate the Estimated Affected Members based on the additional

22     cumulative failure rate of 2.5% multiplied by the estimated Total Quantity Shipped (all Product

23     MODs) equals 13,707 Estimated Affected Members.

24            22.     Estimated Affected Members may choose from three options: (a) Receive a

25     replacement MOD valued at the average current price of $1,040, based on the aforementioned

26     pricing research from seven major retailers, (b) Receive a $500 Sharp voucher per Affected

27     Member, or (c) Receive $250 cash from Sharp. The value of the benefit is then reasonably

28     quantified based upon the resultant formula:
       Civil Action No. 5:19-CV-488 5
       DECLARATION OF FRANK BERNATOWICZ
     Case 5:19-cv-00488-JSM-PRL Document 53-1 Filed 10/30/20 Page 32 of 106 PageID 653




 1             Additional Failure Rate (Affected Members) (13,707) multiplied by the respective

 2             Benefit Factor ($1,040, $500 or $250) equals Replacement Offer Value.

 3             23.      Total Replacement Offer Value for the Settlement Class is based on the analytical

 4     procedures and three options described above and in the Settlement and: (1) Option 1 – ALL

 5     REPLACEMENT MODs is calculated as $14,261,294; (2) Option 2 – ALL VOUCHERS is

 6     calculated as $6,853,500; and (3) Option 3 – ALL CASH is calculated as $3,426,750.5

 7             24.      On the aforementioned bases, in my opinion, Total Replacement Offer Benefit

 8     amounts to a range of $3,426,750 up to $14,261,294. (See Exhibit 2).

 9                                 Benefit #3: Reimbursement of Labor/Service Costs

10             25.      It is my understanding that the Settlement includes a benefit wherein Settlement

11     Class Members can be reimbursed for labor and/or service costs associated with Documented

12     Arcing Claims, including for prior labor and/or service costs for service calls related to the

13     Documented Arcing Claim or for inspections to determine arcing, related to the MODs. Any

14     such reimbursement(s) will be capped at $150 per warranty claim (the “Labor/Service

15     Reimbursement”).

16             26.      To this regard, I have reviewed and analyzed the aforementioned Labor/Service

17     Reimbursement Value to the Settlement Class. For purposes of my analysis, I have assumed the

18     following: (1) Estimated Affected Members (13,707) is analyzed and calculated the same as

19     described in Benefit #2 above; (2) Estimated Affected Members receive a maximum of $150 per

20     claim; and (3) Total claim calculated based on maximum claim amount.

21             27.      My analysis is based on the above assumptions and further includes the following

22     analytical procedures: First, as discussed above, I reviewed and analyzed information provided

23     by Sharp relating to certain performance data from the Product and the six models at issue in this

24     matter. Second, I analyze the Estimated Affected Members, as described in Benefit #2 above.

25     Lastly, I calculate the Labor/Service Reimbursement Value for the Settlement Class based on the

26     above analytical procedures and the reimbursement of labor and/or service costs described above

27     5
         The amount indicated for each option assumes 100% selection of that benefit. Some combination of each benefit
       is anticipated.
28
       Civil Action No. 5:19-CV-488 6
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 1     and in the Settlement, per the formula:

 2               Affected Members (13,707) multiplied by the respective Benefit Factor ($150) equals

 3               Reimbursement of Labor/Service Costs Value.

 4               28.    On   the aforementioned      bases,   in   my opinion,    Total Labor/Service

 5     Reimbursement Benefit amounts to $2,056,050. (See Exhibit 2).

 6                               Benefit #4: Reimbursement of Consequential Damages

 7               29.    It is my understanding that the Settlement includes a benefit wherein Settlement

 8     Class Members who choose not to accept a replacement MOD may seek reimbursement for

 9     consequential damages of up to $200 with documented proof (the “Consequential Damages

10     Reimbursement”).

11               30.    To this regard, I have reviewed and analyzed the aforementioned Consequential

12     Damages Reimbursement Value to the Settlement Class. For purposes of my analysis, I have

13     assumed the following: (1) Estimated Affected Members analyzed and calculated the same as

14     described in Benefit #2 above; (2) Estimated Consequential Damages Members is preliminarily

15     based upon an assumed 10% occurrence factor, and is thus calculated as Estimated Affected

16     Members multiplied by a factor of 10%; (4) Estimated Consequential Damages Members receive

17     a maximum of $200 per claim; and (5) Total claim calculated based on maximum claim amount.

18               31.    My analysis is based on the above assumptions and further includes the following

19     analytical procedures: First, as discussed above, I reviewed and analyzed information provided

20     by Sharp relating to certain performance data from the Product and the six models at issue in this

21     matter.     Second, I analyze the Estimated Affected Members and Estimated Consequential

22     Damages Members, as described above.            Lastly, I calculate the Consequential Damages

23     Reimbursement Value for the Settlement Class based on the above analytical procedures and the

24     reimbursement of consequential damages described above and in the proposed settlement terms

25     sheet, per the formula:

26               Affected Members (1,371) multiplied by the respective Benefit Factor ($200) equals

27               Reimbursement of Consequential Damages Value.

28               32.    On the aforementioned bases, in my opinion, Total Consequential Damages
       Civil Action No. 5:19-CV-488 7
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 1     Reimbursement Benefit amounts to $274,140. (See Exhibit 2).

 2            33.     In my opinion, based on the aforementioned four benefits illustrated above, the

 3     range of Total Benefits for the Settlement Oass amounts to $103,049,520 to $113,884,064.

 4            34.     This range is comprised of the following four Settlement Class Benefit Values,

 5     and in my opinion:

 6             (1) Total Extension of Wa"anty Benefit Value amounts to $97,292,580;

 7             (2) Total Replacement Offer Benefit Value amounts to a range of $3,426,750 up to

 8            $14,261,294, which is comprised of the following options:
 9                    Option 1 -ALL REPLACEMENT MODs equal to $14,261,294,

10                    Option 2 -ALL VOUCHERS is equal to $6,853,500, and

11                    Option 3 -ALL CASH is equal to $3,426, 750;

12            (3) Total Labor/Service Reimbursement Benefit Value amounts to $2,056,050; and

13            (4) Total Consequential Damages Reimbursement Benefit Value amounts to $274,140.

14            (See Exhibit 1).

15

16            I declare under penalty of perjury of the laws of the United States that the foregoing is

17     true and correct.

18                                             Respectfully Submitted,

19

20     Dated: July 15. 2020                   ~~~
21                                                  Frank Bematowicz

22

23

24
25

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28
       Civil Action No. 5:19-CV-488 8
       DECLARATION OF FRANK BERNATOWICZ
                                         Case 5:19-cv-00488-JSM-PRL Document 53-1 Filed 10/30/20 Page 35 of 106 PageID 656
                                                                                                               EXHIBIT 1
                                                                                                          DAMAGES SUMMARY
                                                                                                 SHARP CLASS ACTION - MICROWAVE OVENS



                                                                                   REPLACEMENT
REF                                  DESCRIPTION                                                            VOUCHER               CASH                                                            COMMENT
                                                                                      MODS


 1        BENEFIT 1: EXTENSION OF WARRANTY                                         $      97,292,580    $      97,292,580   $      97,292,580 Every class member receives the benfits of an extended 5 yr warranty for claimable arcing failures


 2        BENEFIT 2: PRODUCT REPLACEMENT OFFER                                     $      14,261,294    $       6,853,500   $        3,426,750 Estimated Members w/ claimable arcing failures. Options: (a) Replacement or (b) $500 Voucher or (c) $250 Cash


 3        BENEFIT 3: REIMBURSEMENT OF LABOR/SERVICE COSTS                          $       2,056,050    $       2,056,050   $        2,056,050 Estimated Members w/ claimable arcing failures & service time/labor cost capped at $150


 4        BENEFIT 4: REIMBURSEMENT OF CONSEQUENTIAL DAMAG $                                  274,140    $         274,140   $         274,140 Estimated Members w/ claimable arcing failures & consequqntial damages capped at $150


                         DAMAGES SUMMARY BY OPTION                                 $     113,884,064    $    106,476,270    $     103,049,520


          Notes:
      (1) See Damages Detail; Options on additional arcing include (a) Replacement of MOD or (b) $500 Voucher lieu if replacement or (c) $250 Cash in lieu of replacement




                                                                                                                                                                                                                                                      6/17/2020
                                                              Case 5:19-cv-00488-JSM-PRL Document 53-1 Filed 10/30/20 Page 36 of 106 PageID 657
                                                                                                                                                               EXHIBIT 2
                                                                                                                                                           DAMAGES DETAIL
                                                                                                                                                 SHARP CLASS ACTION - MICROWAVE OVENS




                                                                                                                                                                                                                               BENEFIT           BENEFIT
                                                                                 Warranty Cost (%                                                                                        Warranty Cost $     BENEFIT
REF                                     MODEL                                                          Benefit Fctr (2)    Sales Quantity (3)       Price (4)       Sales $ Retail (5)                                       SUMMARY ALT       SUMMARY ALT                                           COMMENTS
                                                                                   of Sales) (1)                                                                                              (6)          SUMMARY (7)
                                                                                                                                                                                                                                 1 (8)             2 (9)

 1       KB6524PS                                                                        16%                                         247,914    $          904.28   $    224,184,734     $    35,177,757                                                         Warranty Cost $ (benefit) = Warranty Cost (% of Retail) X Sales $ Retail
 2       KB6525PS                                                                        17%                                          36,716               999.99         36,715,633           6,135,086                                                         Warranty Cost $ (benefit) = Warranty Cost (% of Retail) X Sales $ Retail
 3       SMD2470AS                                                                       18%                                         200,303             1,141.17        228,578,773          41,666,229                                                         Warranty Cost $ (benefit) = Warranty Cost (% of Retail) X Sales $ Retail
 4       SMD3070AS                                                                       20%                                          35,914             1,239.00         44,497,374           8,713,335                                                         Warranty Cost $ (benefit) = Warranty Cost (% of Retail) X Sales $ Retail
 5       SMD2470AH                                                                       16%                                          14,888             1,264.00         18,818,368           2,940,306                                                         Warranty Cost $ (benefit) = Warranty Cost (% of Retail) X Sales $ Retail
 6       SMD2480CS                                                                       14%                                          13,300             1,386.65         18,442,418           2,659,867                                                         Warranty Cost $ (benefit) = Warranty Cost (% of Retail) X Sales $ Retail
 7       BENEFIT 1: EXTENSION OF WARRANTY                                                                                            549,035    $        1,040.44   $    571,237,301     $    97,292,580   $    97,292,580   $    97,292,580   $    97,292,580   Benefit = Warranty Cost (REF 1 + REF2 + REF3 + REF4+REF5)
 8
 9       Warranty % of Sales $ Retail (Cost of Warranty %)                                                                                                                                         17.0%                                                         REF7 (Damages) ÷ REF 7 (Sales $ Retail)
10       Warranty value per unit (wgt. avg.)                                                                                                                                             $        177.21                                                         REF7 (Damages) ÷ REF 7 (Qty)
11
12       Warranty mark-up over cost                                                                                                                                                               200.0%                                                         Article: Service Appliance Warranty ConsumerAffairs.pdf dated 1/5/2015
13       Failure Rate - 5 Yr                                                                                                                                                                        5.7%                                                         REF9 ÷ (1 + REF12); represents estimate 5 yr. cumulative failure rate
14       Failure Rate - 1 Yr                                                                                                                                                                        2.5%                                                         Source: 20191127113140591.pdf; replacement mod % assumed to = 1 yr failure rate
15       Additional Failure Rate                                                                                                                                                                    2.5%                                                         Source: 20191127113140591.pdf; replacement mod % assumed to = 1 yr failure rate
16       Consequential Damages % of Additional Failure Rate                                                                                                                                         10%
17
18       BENEFIT 2: PRODUCT REPLACEMENT OFFER                                                                                Members (10)
19       a. Option 1: ALL REPLACEMENT MODs                                                            $            1,040            13,707                                                                 $    14,261,294                                       Fctr X Qty
20       b. Option 2: ALL VOUCHERS                                                                    $              500            13,707                                                                                   $     6,853,500                     Fctr X Qty
21       c. Option 3: ALL CASH                                                                        $              250            13,707                                                                                                     $     3,426,750   Fctr X Qty
22
23       BENEFIT 3: REIMBURSEMENT OF LABOR/SERVICE COSTS
24       a. Cash Amt (capped)                                                                         $             150               13,707                                                               $     2,056,050   $     2,056,050   $     2,056,050   Fctr X Qty
25
26       BENEFIT 4: REIMBURSEMENT OF CONSEQUENTIAL DAMAGES
27       a. Cash Amt (capped)                                                                         $             200                1,371                                                               $      274,140    $      274,140    $      274,140    Fctr X Qty
28
29                   TOTAL SETTLEMENT CLASS BENEFITS                                                                                                                                                       $   113,884,064   $   106,476,270   $   103,049,520   REF7 + (REF 19 or REF20 or REF 21) + REF24 + REF27

         Notes:
   (1)   Extended 5 yr warranty cost % of sales based on weighted average from 7 retailers (Amazon, ABT, Best Buy, Sears, Home Depot, Lowes & Walmart)
   (2)   Fctr data represents draft settlement term benefits including average price of replacement unit, if chosen, as one of the benefit options
   (3)   Source: 20191127113140591.pdf for sales thru 7/31/19; Update: Sharp MOD Spreadsheet - May 2020.pdf
   (4)   Price per MOD based on weighted average price from 7 retailers (Amazon, ABT, Best Buy, Sears, Home Depot, Lowes & Walmart)
   (5)   Qty X Price
   (6)   Warranty Cost (% of Sales) X Qty
   (7)   Benefits 1 thru 4 quantified w/ option of MOD replacement unit for additional warranty claims
   (8)   Benefits 1 thru 4 quantified w/ option of VOUCHER chosen in lieu of replacement MOD for additional warranty claims
   (9)   Benefits 1 thru 4 quantified w/ option of CASH chosen in lieu of replacement MOD for additional warranty claims
  (10)   Estimated Affected Members also referred to as Additional Failure Rate




                                                                                                                                                                                                                                                                                                                                            6/17/2020
                                                 Case 5:19-cv-00488-JSM-PRL Document 53-1 Filed 10/30/20 Page 37 of 106 PageID 658
                                                                                                                     EXHIBIT 3
                                                                                                              SHARP MICROWAVE OVENS
                                                                                                    PRICE OF PRODUCT AND WARRANTY BY RETAILER



                                                                                                                                                                                                                         WARRANTY
REF                     MODEL (1)                      AMAZON                  ABT              BEST BUY              SEARS           HOME DEPOT               LOWES             WALMART             AVG. PRICE                                     FAB COMMENT
                                                                                                                                                                                                                         % OF SALES

                   MODEL PRICE (2)
 1          SMD2470AH                                        1,148.98            1,299.00             1,299.99            1,199.00             1,299.00            1,373.00             1,229.00            1,264.00
 2          SMD2470AS (Y)                                      999.00            1,199.00             1,199.99                                 1,199.00            1,201.00             1,049.00            1,141.17
 3          SMD3070AS (Y)                                    1,124.99            1,299.00                                 1,099.00             1,299.00            1,373.00                                 1,239.00
 4          SMD2480CS                                        1,249.00                                 1,399.99                                 1,398.00            1,398.00             1,488.25            1,386.65
 5          KB6524PS (Y)                                       799.00              947.00               949.99              899.00               947.00              949.00               839.00              904.28
 6          KB6525PS                                           999.99                                   999.99                                                                                                999.99
 7          AVERAGE                                                                                                                                                                                         1,155.85                        Avg. (REF1:REF6)
8
9              5 YR WARRANTY PRICE (3)
10          SMD2470AH                                                                                   199.99                                   195.00                                                       197.50                 16%    Avg. Warranty Price ÷ Oven Price
11          SMD2470AS                                          157.12              300.00               199.99                                   195.00              187.97                                   208.02                 18%    Avg. Warranty Price ÷ Oven Price
12          SMD3070AS                                          207.85              325.00                                                        195.00                                                       242.62                 20%    Avg. Warranty Price ÷ Oven Price
13          SMD2480CS                                                                                   199.99                                                                                                199.99                 14%    Avg. Warranty Price ÷ Oven Price
14          KB6524PS                                            92.62                                   159.99                                   160.00              154.97                                   141.90                 16%    Avg. Warranty Price ÷ Oven Price
15          KB6525PS                                                                                                                                                                                          167.10                 17%    Avg. (Warranty% REF10:REF14)
16          AVERAGE                                                                                                                                                                                           192.85

17          Avg. Warranty-Microwaves                                                                                                                                                                             19%                        Source: Warranty Week 2/2/17
18          Avg. 5 Yr Warranty-Microwaves                                                                                                                                                                        25%                        Source: Warranty Week 2/2/17
19          Avg. 5 Yr Warranty-Sharp                                                                                                                                                                             17%                        Avg. (REF10:REF15)

            Notes:
      (1)   Source: On-line websites of Amazon, ABT, Best Buy, Sears, Home Depot, Lowes & Walmart
      (2)   On-line price for models shown; certain prices include models w/ (Y) suffix
      (3)   On-line 5 Yr warranty prices for models shown; represents total warranty period including 1 yr. manufactuing warranty
      (4)   Source: Extended Warranty Pricing FW Sharp Case 9113550_.pdf; email 12/10/18 from Raven Edmonds indicates Sharp offers 1, 2 & 3 year warranty extension coverage (above standard 1 yr warranty) for $68, $102 & $153 respectively
                Case 5:19-cv-00488-JSM-PRL Document 53-1 Filed 10/30/20 Page 38 of 106 PageID 659

                                                        EXHIBIT 4
                                            SALES & EXCHANGED UNITS ANALYSIS



                                        Total Sales Qty.         Exchanged Units
REF             Models (1)                                                                   %
                                         As of May 20             As of May 20


 1       KB6524PS                                    247,914                     6,476           2.61%

 2       KB6525PS                                     36,716                     1,152           3.14%

 3       SMD2470AS                                   200,303                     4,806           2.40%

 4       SMD3070AS                                    35,914                       879           2.45%

 5       SMD2470AH                                    14,888                       169           1.14%

 6       SMD2480CS                                    13,300                       225           1.69%

 8                TOTAL                             549,035                    13,707           2.50%

          Notes:
      (1) Source: 20191127113140591.pdf for sales & exchanged units thru 7/31/19; Update: Sharp MOD Spreadsheet - May 2020.pdf
                                                                       EXHIBIT
   Case 5:19-cv-00488-JSM-PRL Document 53-1 Filed 10/30/20 Page 39 of 106 PageIDA 660
        Frank Bernatowicz
        Managing Principal




                                                P: (312) 650-5250                         400 E. Randolph
                                                F: (312) 650-5286                         Suite 720
                                                C: (630) 888-4290                         Chicago, IL 60601
                                                fab@fabgrp.com                            www.fabgrp.com




Frank is the Founder and Managing Principal of FAB                  •   Intellectual property disputes involving patent
Group, Inc., a financial advisory services firm.                        infringement, trade secrets, false advertisement, trade
                                                                        dress, copyright and royalty disputes
Professional experience                                             •   Construction disputes including breach of contract,
Prior to forming FAB Group, Inc., Frank was the Founder                 delay, lost productivity and other claims
and Managing Principal of FAB Advisory Services, LLC                •   Insurance claim disputes involving business interruption,
(acquired by Huron Consulting), where he provided                       property and casualty, extra expense, directors and
litigation consulting and expert witness testimony, financial           officers and other claims
advisory services for companies and creditors in connection         •   Post acquisition disputes involving price disagreements
with reorganization and/or bankruptcy proceedings,                      and performance issues
turnaround consulting and interim management services, as           •   Breach of contract matters including performance,
well as general financial advisory work for troubled                    payment, delay, termination and other issues
companies.                                                          •   Other types of disputes including legal and accounting
                                                                        malpractice, condemnation, marital dissolution,
During his career, Frank was influential in advancing                   environmental claims and others
litigation consulting in the Chicago market by forming Ernst        •   Arbitrator and mediator services to a wide range of
& Whinney’s first stand-alone litigation consulting practice            entities and industries
in 1985 and subsequently held senior regional and national
leadership positions at the successor firm, Ernst & Young,          Financial Recovery Services
for over 12 years. In addition, Frank was the founder of the        • Fraudulent conveyance analysis and testimony
Chicago office of Jay Alix & Associates, an internationally         • Preference payment analysis
recognized turnaround consulting firm. He has also held             • Creditor recovery services (Ch. 7 and Ch. 11)
senior leadership positions at PriceWaterhouseCoopers and           • Debtor advisory services (Ch. 7 and Ch. 11) including
BDO Seidman prior to forming his own firm.                              plans of reorganization and strategic planning
                                                                    • Crisis management for troubled developments, projects,
Frank has extensive experience in the areas of finance,                 plants and corporations
accounting, valuation, and engineering. He regularly serves
as an expert witness and has substantial testimony                  Commercial Fraud Investigations
experience in federal and state courts, as well as arbitration      • SEC related inquiries and investigations
and mediation proceedings. Frank has served as a damages            • Breach of fiduciary responsibility investigations
expert for over 25 years in federal and state courts on more        • Accounting irregularity investigations
than 400 engagements. He has vast experience in arbitration
and mediation matters and has served as a court appointed           Education and certifications
expert on financial and damages matters in various                  • MBA, Loyola University
jurisdictions.                                                      • Bachelor of Science in Electrical Engineering, University
                                                                       of Illinois
Representative examples of Frank’s engagement experience            • Certified Public Accountant (CPA)
include:                                                            • Registered Professional Engineer (PE)

Litigation Consulting and Expert Testimony                          Professional associations
Analysis and testimony on accounting, financial and                 • Illinois CPA Society
economic issues over a broad range of industries including          • American Institute of Certified Public Accountants
pharmaceutical, medical products, automotive, utility,              • National Society of Professional Engineers
construction, real estate, manufacturing, government,               • Turnaround Management Association
transportation, financial services and others related to a wide     • Licensing Executives Society
range of disputes including:
     Case 5:19-cv-00488-JSM-PRL Document 53-1 Filed 10/30/20 Page 40 of 106 PageID 661

                                                                                                            EX B
                                  FRANK BERNATOWICZ
                    EXPERT TESTIMONY ON SELECTED LITIGATION MATTERS


                                                             Testimony                    Attorney
Ref.                           Case                            Type                       Contact
 1     Flo-Rite                                      Trial                   George Grumley
       v.                                                                    Rudnick & Wolfe
       Wisconsin Pharmacal (c)
 2     City of Detroit (c)                           Deposition,             Plunkett & Cooney
       v.                                            Mediation               Bill Brodhead
       Sisters of Mercy Health Corporation
 3     Prozeralik                                    Trial                   Andrea Moore
       v.                                                                    Jaeckle, Fleischmann & Mugel
       Capital Cities (c)
 4     Prudential Insurance Co. (c) & Nippon Life    Deposition, Mediation   Bill Campbell
       v.                                                                    Rudnick & Wolfe
       Turner Construction Co.
 5     O’Brien Corp. (c)                             Deposition,             Werner Powers
       v.                                            Mediation               Haynes & Boone
       National Union Insurance Co.
 6     Aardvark Art                                  Depositions,            Phil Kircher
       v.                                            Trial                   Schnader, Harrison, Segal &
       Lehigh Press (c)                                                      Lewis
 7     CTS Corp.                                     Deposition              Rowe Snider
       v.                                                                    Lord, Bissell & Brook
       Raytheon (c)
 8     John R. Walker Co.                            Arbitration             Tim Thornton
       v.                                                                    Greensfelder, Hemker, Gale,
       Zimpro (c)                                                            Weiss & Chappelow
 9     Hughes Masonry, Inc.                          Deposition              Alan Lobley
       v.                                                                    Ice, Miller, Donadio & Ryan
       Geupel DeMars (c)
10     Park Plaza Developers                         Arbitration             Alan Lobley
       v.                                                                    Ice, Miller, Donadio & Ryan
       Geupel DeMars (c)
11     B&I Mechanical Contractors                    Arbitration             Alan Lobley
       v.                                                                    Ice, Miller, Donadio & Ryan
       Geupel DeMars (c)
12     BASF                                          Deposition              Mark Ferguson
       v.                                                                    Bartlitt, Beck, Herman,
       Old World Trading Co. (c)                                             Palenchar & Scott
       v.
       Dearborn
13     CG&E, DP&L & C&SOE                            Deposition,             Bill Gordon
       v.                                            Trial                   Mayer, Brown & Platt
       GE (c)

                                                    -1-
     Case 5:19-cv-00488-JSM-PRL Document 53-1 Filed 10/30/20 Page 41 of 106 PageID 662


                          TESTIMONY ON SELECTED LITIGATION MATTERS


                                                           Testimony                  Attorney
Ref.                            Case                         Type                      Contact
 14    U.S. Industries (c)                         Trial               Bill Sondericker
       v.                                                              Carter, Ledyard & Milburn
       F. Browne Gregg
15     Great Midwest Savings & Loan (c)            Trial               Roger Weede
       v.                                                              Vlasak, Rosenbaum, Weede &
       Hometown, Inc.                                                  Britton
16     Metaullics                                  Trial               Ron Isroff
       v.                                                              Ulmer & Berne
       MMEI (c)
17     Metaullics                                  Deposition,Trial    Ron Isroff
       v.                                                              Ulmer & Berne
       MMEI (c)
18     Lor-Al (c)                                  Deposition          Mark Wine
       v.                                                              Oppenheimer, Wolff &
       Ag-Chem                                                         Donnelly
19     Sealed Air, Inc.                            Deposition          David Bishop
       v.                                                              Oppenheimer, Wolff &
       Northern Instruments (c)                                        Donnelly
20     Axxess Entry Technologies                   Deposition          Jim Nolan
       v.                                                              Clausen, Miller, Gorman,
       Hill, Van Santen, Steadman & Simpson (c)                        Caffrey & Witous
21     Farrall Instruments                         Deposition          Jim White
       v.                                                              Welsh & Katz
       Ward, Lalos, Leeds, Keegan, & Lett (c)
22     Wells Fargo                                 Trial               Don Zazove
       v.                                                              Tobin & Zazove
       Pullman Construction Co. (c)
23     Forum Insurance Co. (c)                     Deposition          Don Flayton
       v.                                                              Wildman, Harrold, Allen & Dixon
       Magnant Re Intermediaries
24     Illinois Central                            Deposition          Mark Devane
       v.                                                              Menges, Millus
       Alternative Transportation System (c)
25     Intamin                                     Deposition          Michael Wagner
       v.                                                              Baker & McKenzie
       Figley Wright (c)
26     Shambaugh Electric                          Deposition          Norman Barry
       v.                                                              Baker & McKenzie
       Fairfield Engineering Co. (c)
27     Driscoll/Newgard (c)                        Trial               Don O’Brien
       v.                                                              O’Brien, O’Rourke, Hogan &
       Metro Fair & Expo. Authority                                    McNulty

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     Case 5:19-cv-00488-JSM-PRL Document 53-1 Filed 10/30/20 Page 42 of 106 PageID 663


                         TESTIMONY ON SELECTED LITIGATION MATTERS


                                                        Testimony                   Attorney
Ref.                            Case                      Type                      Contact
 28    Farm Fuels                               Trial               Henry Harmon
       v.                                                           Grefe & Sidney
       Grain Processing Corp. (c)
29     Recon Optical                            Deposition          Bill Campbell
       v.                                                           Rudnick & Wolfe
       Ragnar Benson (c)
30     Industrial First, Inc.                   Arbitration         Stan Adelman
       v.                                                           Rudnick & Wolfe
       Stein & Co. (c)
31     Warner Bros.                             Trial               Chuck Hoppe
       v.                                                           Knight, Hoppe & Fanning
       County of DuPage (c)
32     Armstrong Foods (c)                      Deposition          Chuck Bergen
       v.                                                           Grippo & Elden
       Rose Foregrove
33     Weyerhauser                              Deposition          Peter Tolley
       v.                                                           Tolley, Fisher & Verwys
       Structural Wood Corp. (c)
34     Sylvester Sales Company (c)              Trial               Jerry Rice
       v.                                                           Rice & Heikes
       Anoka Electric Co.
35     Illinois Bell                            Deposition          Tom Lucas
       v.                                                           Peterson & Ross
       Garrett & West (c)
36     Laguna Hills Water Co.                   Deposition          Jay Seashore
       v.                                                           Haight, Dixon, Brown &
       VSL (c)                                                      Bonesteel
37     S&S Enterprises                          Deposition          Herb Lyons
       v.                                                           U.S. Air Force
       U.S. Air Force (c)
38     Warner Bros.                             Deposition          Bill Mahoney
       v.                                                           Segal, McCambridge, Singer &
       City of Bensenville (c)                                      Mahoney
39     David Engineering (c)                    Arbitration         Gary Dankert
       v.                                                           Ice, Miller, Donadio & Ryan
       Bartholomew Consolidated School Corp.
40     Carolyn Jordan & Associates              Trial               Don O’Brien
       v.                                                           O’Brien, O’Rourke, Hogan &
       DelRicco Bros. Construction Co. (c)                          McNulty




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                         TESTIMONY ON SELECTED LITIGATION MATTERS


                                                            Testimony                         Attorney
Ref.                               Case                        Type                           Contact
 41    Dayton Hudson                                 Deposition                Doug Reimer
       v.                                                                      McDermott Will & Emery
       Great Lakes Dredge & Dock (c)
       & City of Chicago
42     Sara Creek                                    Deposition                Doug Reimer
       v.                                                                      McDermott Will & Emery
       Great Lakes Dredge & Dock (c)
       & City of Chicago
43     Helmsley Spear                                Deposition                Doug Reimer
       v.                                                                      McDermott Will & Emery
       Great Lakes Dredge & Dock (c)
       & City of Chicago
44     Filenes Basement                              Deposition                Doug Reimer
       v.                                                                      McDermott Will & Emery
       Great Lakes Dredge & Dock (c)
       & City of Chicago
45     Metcalf & Eddy (c)                            Special Master Hearings   Peter Sipkins
       v.                                                                      Dorsey & Whitney
       Puerto Rican Aqueduct & Sewerage Authority
46     Prudential Life & Nippon Life (c)             Trial                     Steve Harper
       v.                                                                      Kirkland & Ellis
       Turner Construction Co.
47     Dakota Gasification Co.                       Deposition                Werner Polak
       v.                                                                      Shearman & Sterling
       Henry J. Kaiser, et al. (c)
48     Raymond G. Tronzo (c)                         Depositions, Trial,       Robert Hackleman
       v.                                                                      Gunster, Yoakley,       Valdes-Fauli   &
       Biomet, Inc.                                                            Stewart
49     Johnstown America Corp.                       Trial                     Bob Chiaviello
       v.                                                                      Baker & Botts
       Trinity Industries, Inc. (c)
50     G&K Services (c)                              Arbitration               Bill Mullin
       v.                                                                      Maslon, Edelman, Borman & Brand
       Uniform Partners Corp.
51     Van Kampen Merritt (c)                        Trial                     Tim Eaton
       v.                                                                      Coffield, Ungaretti & Harris
       SMP II Limited Partnership
52     Rim Sales, Inc.                               Federal-Arbitration       Dan Sclessinger
       v.                                                                      Lord, Bissell & Brook
       Wilton Corporation (c)




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     Case 5:19-cv-00488-JSM-PRL Document 53-1 Filed 10/30/20 Page 44 of 106 PageID 665


                          TESTIMONY ON SELECTED LITIGATION MATTERS


                                                                  Testimony                 Attorney
Ref.                             Case                                Type                    Contact
 53    Echo Corporation (c)                                Deposition         Susan Rentschler
       v.                                                                     Musada Funai Eifert & Mitchell, Ltd.
       Power Tools
54     Black & Decker (c)                                  Deposition         Ray Niro
       v.                                                                     Niro, Scavone, Haller & Niro
       The Coleman Company
55     University of Georgia Research Foundation (c)       Deposition         Judy Butler
       v.                                                                     University of Georgia          Research
       Kilpatrick & Cody                                                      Foundation
56     Fabrite Laminating Corporation                      Trial              Bruce Tittel
       v.                                                                     Wood, Herron & Evans
       Standard Textile Co., Inc. (c)
57     Lombard Construction Co.                            Deposition         Mark Friedlander
       v.                                                                     Schiff, Hardin & Waite
       Chicago Housing Authority (c)
58     Chicago Transit Authority (c)                       Deposition         James O’Halloran
       v.                                                                     O’Halloran, Lively & Walker
       Insurers
59     Colonial Guild (c)                                  Trial              Connis Brown
       v.                                                                     Gunster, Yoakley, Valdes-Fauli &
       Matthews                                                               Stewart
60     Unofficial Creditors Committee of Alpha Tube (c)    Deposition         Dennis O’Dea
       Re: Acme Metals Bankruptcy                                             Wolf, Block, Schorr and Solis-Cohen,
                                                                              LLP
61     Bradford Company (c)                                Trial              Bruce Tittel
       v.                                                                     Wood, Herron & Evans
       Jefferson Smurfit Corp.
62     Medtronic (c)                                       Arbitration        Bill Pentelovich
       v.                                                                     Maslon, Edelman, Borman & Brand
       St. Jude Medical
63     Avery Dennison (c)                                  Deposition         Joe Hosteny
       v.                                                                     Niro, Scavone, Haller & Niro
       Flexcon
64     Public Service of Indiana                           Mediation          Tom Keegan
       v.                                                                     Robins, Kaplan, Miller & Ciresi
       Hartford (c)
65     Edwardswille School District                        Deposition         Tim Thornton
       v.                                                                     Greensfelder, Hemker & Gale
       Sverdrup (c)
66     Charles S. Anderson                                 Deposition         Rob Phillips
       v.                                                                     Arnold, White & Durkee
       Imagine Publishing (c)

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                          TESTIMONY ON SELECTED LITIGATION MATTERS


                                                     Testimony                      Attorney
Ref.                            Case                    Type                        Contact
 67    Ohio Medical Products (c)              Deposition              Greg Ahrens
       v.                                                             Wood, Herron & Evans
       Johnson & Johnson
68     Black & Decker (c)                     Deposition              John Janka
       v.                                                             Niro, Scavone, Haller & Niro
       Catalina Lighting
69     20th Century Plastics                  Arbitration             Bruce Tittel
       v.                                                             Wood, Herron & Evans
       Univenture (c)
70     IBJ Schroder Bank & Trust (c)          Deposition              Frank Penski
       v.                                                             Nixon & Peabody
       Cory & Associates, Inc.
71     Avery Dennison (c)                     Deposition              Joe Hosteny
       v.                                                             Niro, Scavone, Haller & Niro
       Ritrama
72     Amphenol (c)                           Deposition              Steve Fallon
       v.                                                             Greer Burns & Crain
       Centurion
73     Alla Investors                         Deposition, Trial       Michael Poulos
       v.                                                             Piper Marbury Rudnick & Wolfe
       NCI (c)
74     TSE                                    Deposition, Trial       Greg Ahrens
       v.                                                             Wood, Herron & Evans
       Franklynn (c)
75     Bucyrus-Erie creditors (c)             Deposition              Bruce Arnold
       v.                                                             Whyte Hirschboek & Dudek
       Bucyrus-Erie, debtor
76     Barbour                                Deposition              Rob Adams
       v.                                                             Shook, Hardy & Bacon
       Layne Christensen (c)
77     Lawler (c)                             Deposition              Art Stein
       v.                                                             Barnes & Thornburg
       Bradley
78     Avery Dennison (c)                     Deposition              Joe Hosteny
       v.                                                             Niro, Scavone, Haller & Niro
       UCB
79     Hall                                   Deposition, Mediation   Connis Brown III
       v.                                                             Brown, Locurto & Robert
       American Pavers Manufacturing (c)
80     Shareholders                           Deposition              David Schaffer
       v.                                                             Chapman & Cutler
       AEG (c)

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                          TESTIMONY ON SELECTED LITIGATION MATTERS


                                                          Testimony                   Attorney
Ref.                           Case                          Type                     Contact
 81    Bonzel (c)                                  Mediation            Tom Burger
       v.                                                               Wood, Herron & Evans
       Boston Scientific
82     Mopex (c )                                  Deposition           Brad Lyerla
       v.                                                               Wallenstein & Wagner
       American Stock Exchange
83     Ringland Johnson (c)                        Mediation            Mark Gravino
       v.                                                               Williams & McCarthy
       CNA
84     Ringland Johnson (c)                        Mediation            Mark Gravino
       v.                                                               Williams & McCarthy
       Zurich
85     Uno Heirs (c)                               Depositions          Bruce Tittel
       v.                                                               Wood, Herron & Evans
       Mattel
86     Eazypower                                   Deposition           Tom Fitzsimmons
       v.                                                               Greer, Burns & Crain
       Vermont American (c)
87     Block Financial Corp.                       Deposition           David Barkan
       v.                                                               Fish & Richardson
       Yodlee, Inc. (c)
88     TAAG/T.K. International, Inc.               Deposition, Trial    Tom Boswell
       v.                                                               Hinshaw & Culbertson
       Roper Whitney of Rockford (c)
89     McCook Metals creditors                     Deposition, Trial    Michael Desmond
       v.                                                               Figliulo & Silverman
       McCook Metals, debtor (c)
90     American Equities Group - debtor (c)        Trial                Warren Graham
       Re: Bankruptcy proceedings                                       Warshaw, Burstein Cohen Schlesinger
                                                                        & Kuh, LLP
91     Bristol-Myers Squibb & Sanofi-Synthelabo    Depositions, Trial   Allen Bernstein
       v.                                                               Ceasar, Rivise, Bernstein, Cohen &
       Apotex (c)                                                       Pokotilow, Ltd.
92     Tower Automotive (c)                        Depositions          Dick Kay
       v.                                                               Varnum, Riddering, Schmidt & Howlett
       Lamb Technicon                                                   LLP
93     Veeco Instruments (c)                       Deposition           Bruce Tittel
       v.                                                               Wood, Herron & Evans
       Asylum Research
94     Block Financial Corp.                       Depostion            David Barkan
       v.                                                               Fish & Richardson, P.C.
       Yodlee (c)

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                            TESTIMONY ON SELECTED LITIGATION MATTERS


                                                          Testimony                 Attorney
Ref.                            Case                         Type                    Contact
 95     Access Technologies                       Arbitrator          Caldwell Lowrance
        v.                                                            Bass Berry & Sims PLC
        Pomeroy Computer Resources
96      Roper Whitney of Rockford (c)             Meditation          Marc Gravino
        v.                                                            Williams & McCarthy
        Quality Hydraulics
97      Hill’s Pet Nutrition                      Deposition, Trial   Dick Johnson
        v.                                                            Blackwell Sanders Peper Martin LLC
        Nutro Products (c )
98      Halo – debtor                             Deposition          Michael Desmond
        v.                                                            Figliulo & Silverman
        Starbelly.com (c)
99      Eaton Corporation                         Mediation           Marc Gravino
        v.                                                            Williams & McCarthy
        Rockford Linear Actuation (c)
100     Frazier                                   Deposition          Dick Johnson
        v.                                                            Blackwell Sanders Peper Martin LLC
        Layne Christensen (c )
101     Lurgi                                     Arbitration         Maynerd Steinberg
        v.                                                            Lord Bissell & Brook
        Adkins (c)
102     North Atlantic Trading Company            Deposition          Michael Kazan
        v.                                                            Grippo & Elden
        Republic Tobacco (c)
103     Royal Indemnity Company (c)               Deposition, Trial   Richard Zuckerman
        v.                                                            Sonnenschein Nath & Rosenthal, LLP
        Commercial Money Center, Inc.
104     Novartis                                  Hearing             Robert Silver
        v.                                                            Ceasar, Rivise, Bernstein, Cohen &
        Apotex Corp. (c)                                              Pokotilow, Ltd. Caesar
105     Plastech Engineered Products, Inc. (c)    Deposition          John Wright
        v.                                                            Jones Day
        Eisenmann Corp.
106     Cellularvision (c)                        Deposition          Connis Brown
        v.                                                            Brown Robert, LLP
        Alltel Corporation
107     Grand Pier Center, LLC (c)                Deposition          Dan Murray
        v.                                                            Johnson & Bell
        ATC Group Services, Inc., etal.
108     Heartbilt (c)                             Mediation           Marc Gravino
        v.                                                            Williams & McCarthy
        Timbercut

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                           TESTIMONY ON SELECTED LITIGATION MATTERS


                                                      Testimony                   Attorney
Ref.                             Case                    Type                     Contact
109     Unigene & Upsher-Smith                 Deposition          Robert Silver
        v.                                                         Ceasar, Rivise, Bernstein, Cohen &
        Apotex Corp. (c)                                           Pokotilow, Ltd.
110     Hanfield (c)                           Deposition          Eric Acker
        v.                                                         Morrison Foerster
        Nissan et al.
111     IRS                                    Trial               William Read Rankin
        v.                                                         Rankin & Associates
        Rovakat (c)
112     Sensient (c)                           Deposition, Trial   Pete Silverman
        v.                                                         Figliulo & Silverman
        Foley & Lardner
113     Wyeth & Altana                         Deposition          Robert Breisblatt
        v.                                                         Katten Muchin
        SUN & TEVA (c)
114     APG (c)                                Deposition, Trial   William Johnson
        v.                                                         Johnson & Bell
        Barnes & Thornburg
115     Heritage Christian                     Deposition          Erin Dickinson
        v.                                                         Hansen Riederer Dickinson Crueger
        Security Life of Denver (c)
116     Cincinnati Insurance                   Deposition          Linda Polley
        v.                                                         Hunt Suedhoff Kalamaros LLP
        Albert (c)
117     Whitserve (c)                          Depositions         Gene Winter
        v.                                                         St.St. Onge Steward Johnston & Reens
        CPI                                                        LLC
118     UEI (c)                                Deposition, Trial   Chris Lee
        v.                                                         Niro, Haller & Niro
        URC
119     Class Action (c)                       Deposition          Amy Keller
        v.                                                         Wexler Wallace
        Bally
120     Lori Roberts                           Deposition          Pete Silverman
        v.                                                         Figliulo & Silverman
        Guggenheim (c)
121     Gentex                                 Trial               Bruce Chasan
        v.                                                         Law Offices of Bucre J. Chasas, LLC
        Helicopter Helmet (c)
122     Icon (c)                               Deposition          Chris Laney
        v.                                                         Niro, Haller & Niro
        SBC

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                          TESTIMONY ON SELECTED LITIGATION MATTERS


                                                                    Testimony                 Attorney
Ref.                                Case                               Type                   Contact
123     Weber (c)                                            Deposition         Raymond Niro
         v.                                                                     Niro, McAndrews, Dowell & Grossman
        Sears
124     Aumann (c)                                           Mediation          Marc Gravino
        v.                                                                      Williams & McCarthy
        Hartsfield
125     Design Basics                                        Mediation          Marc Gravino
        v.                                                                      Williams & McCarthy
        Newport Builders (c)
126     Design Basics                                        Mediation          Marc Gravino
        v.                                                                      Williams & McCarthy
        Westridge Buiders (c)
127     North American Stevedoring (c)                       Deposition         John Holevas
        v.                                                                      Williams & McCarthy
        Illinois International Port District
128     Wholesale Partners (c)                               Deposition         Chuck Crueger
        v.                                                                      Hansen Riederer Dickinson Crueger
        Masterbrand
129     Pacific Bearing                                      Mediation          Marc Gravino
        v.                                                                      Williams & McCarthy
        International Distribution Alliance (c)
130     Access Private Equity                                Arbitration        Pete Silverman
        v.                                                                      Figliulo & Silverman
        Guggenheim (c)
131     RUSH University Medical Center (c)                   Mediation          Dan Brenner
        v.                                                                      Laurie & Brennan
        Perkins & Will and Environmental Systems Design
132     Class Action (c)                                     Deposition         Joshua Ezrin
        v.                                                                      Audet & Partners
        Goodman (CA)
133     Class Action (c)                                     Depositionn        Greg Coleman
        v.                                                                      Greg Coleman Law
        Nordyne
134     Class Action (c)                                     Deposition         Greg Coleman
        v.                                                                      Greg Coleman Law
        Nissan
135     Bison Advisors                                       Deposition         Ray Niro
        v.                                                                      Niro Haller & Niro
        Walleye Trading
136     Grail                                                Deposition         Ray Niro
        v.                                                                      Niro Haller & Niro
        Mitsubishi

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                           TESTIMONY ON SELECTED LITIGATION MATTERS


                                                                     Testimony                      Attorney
Ref.                              Case                                  Type                        Contact
137     Arctic Cat                                            Deposition             Joel Houtari
        v.                                                                           Williams & McCarthy
        Driveline
138     Class Action (c)                                      Deposition             Greg Coleman
        v.                                                                           Greg Coleman Law
        Rheem
139     Class Action (c)                                      Deposition             Amy Keller
        v.                                                                           Wexler Wallace
        Fluidmaster
140     Design Basics                                         Deposition/Mediation   Marc Gravino
        v.                                                                           Williams & McCarthy
        Tim O’Brien Homes (c)
141     Design Basics                                         Mediation              Marc Gravino
        v.                                                                           Williams & McCarthy
        Phillippe Builders (c )
142     Design Basics                                         Mediation              Marc Gravino
        v.                                                                           Williams & McCarthy
        Three Hammer Construction (c)
143     Class Action (c)                                      Deposition             Berger & Montague
        v.                                                                           Michael Fantini
        Sears
144     Chippewa Indians (c)                                  Deposition             Tim Hansen
        v.                                                                           Hansen Reynolds
        Stifel, Nicolaus & Company
145     Trutee for TPP Acquisition                            Deposition             Jeffrey Ganz
        v.                                                                           Riemer & Braunstein
        Monroe Capital (c)
146     Karl Storz (c)                                        Deposition             Michael Kosma
        v.                                                                           Whitmyer IP Group
        Stryker
147     OADS (c)                                              Trial, Deposition      Neil Lapinski
        v.                                                                           Gordon, Fournaris & Mammarella
        L3
148     Heartland Farms, Inc. and Oak Groves Farms, Inc.      Mediation; Hearings    Ronald Pezze
        v.                                                                           Ratzel, Pytlik & Pezze
        Larry T. Van Straten, et al. (c)
149     Kolcraft (c)                                          Trial, Deposition      Ray Niro, Jr.
        v.                                                                           Niro McAndrews
        Chicco
150     SNK America                                           Mediation              Marc Gravino
        v.                                                                           Williams & McCarthy
        Niigata Machine Techno Co.

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                   TESTIMONY ON SELECTED LITIGATION MATTERS


                                                    Testimony                Attorney
Ref.                  Case                             Type                  Contact
151    OADS (c)                             Arbitration         Neil Lapinski
       v.                                                       Gordon, Fournaris & Mammarella
       Gufstream




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                                  EXHIBIT B

         FIRM RESUMES OF CLASS COUNSEL
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                FIRM RESUME


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     THE FIRM
     Greg Coleman Law PC is an AV rated, full-service plaintiffs’ law firm composed of a carefully
     assembled, talented group of 13 attorneys with sound judgment, exceptional skills, and broad
     expertise. The firm's goal is simple: provide high quality legal services with innovative and
     progressive approaches to the law. To this end, the firm's attorneys recognize the importance of
     courtroom experience at all levels and the value of a diverse legal practice. Above all else, it is our
     commitment to aggressively fight for the rights of our clients that sets the firm apart.




     OUR ACCOLADES




     PRACTICE AREAS
        Class Actions                                           Dangerous Drugs & Medical Devices
        Consumer Protection/Consumer Rights                     Fraud/Misrepresentation
        ERISA Litigation                                        Securities Litigation
        False Advertising                                       FLSA Litigation
        Multi-District Litigation/Mass Actions                  Auto, Trucks & Motorcycle Accidents
        Federal and State Appeals                               Insurance Coverage Disputes
        Breach of Contract & UCC Disputes                       Medical Malpractice
        Business Litigation                                     Toxic Tort
        Chemical-Related Cancers & Diseases




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     REPRESENTATIVE CASES
     Adelman v. Rheem Manufacturing Company (D. Ariz.): Co-lead counsel in product defect class
     action.

     Ajose v. Interline Brands, Inc. (M.D. Tenn.): Counsel in product defect class action.

     Anderson v. Ford Motor Company (W.D. Missouri): Co-lead counsel in vehicle safety defect class
     action.

     Berman v. General Motors (S.D. Fla.): Co-lead counsel in vehicle defect class action.

     Chapman v. TriStar Products, Inc. (N.D. Ohio): Lead counsel in multistate defective product class
     action.

     Chason v. Capital City Bank (Gadsden Cty. Cir. Ct., Fla.): Co-lead counsel in overdraft fee class
     action.

     Clark v. Lumber Liquidators (N.D. Ga.): Co-lead counsel in product defect class action.

     Curtis v. Alcoa (E.D. Tenn.): Co-lead counsel in ERISA class action.

     Davis v. Westgate Planet Hollywood Las Vegas (D. Nev.): Co-lead counsel in a Fair Labor
     Standards Act case.

     Dickerson v. York International Corporation (M.D. Penn.): Co-lead counsel in product defect class
     action.

     Feuquay v. Teachers Credit Union (St. Joseph Cty., Cir. Ct., Ind.): Co-lead counsel in overdraft fee
     class action.

     Floyd v. American Honda Motor Co., Inc. (C.D. Cal., 9th Circuit Court of Appeals): Co-lead counsel
     in vehicle safety defect class action.

     Fultineer v. Lumber Liquidators (W.D. Ky.): Co-lead counsel in product defect class action.

     Glenn v. Hyundai Motors America (C.D. Cal.): Co-lead counsel in vehicle safety defect class action.

     Harding v. Midsouth Bank (W.D. La.): Co-lead counsel in overdraft fee class action.

     Hardwick v. Fluidmaster, Inc. (D.N.H.): Co-lead counsel in product defect class action.

     Hatmaker v. Consolidated Nuclear Security, LLC (E.D. Tenn.): Lead counsel in ERISA class action.




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     Hindsman v. General Motors (N.D. Cal.): Co-lead counsel in vehicle defect class action.

     Hirst v. Skywest Airlines, Inc. (N.D. Ill., 7th Circuit Court of Appeals): Co-lead counsel in employee
     wage and hour class action.

     Hungerman v. Fluidmaster, Inc. (W.D. Penn.): Co-lead counsel in multistate product defect class
     action.

     Hurd v. America’s Collectibles Network, Inc. (Knox Cty. Cir. Ct., Tenn.): Co-lead counsel in
     consumer protection and false advertising class action.

     Jammal v. American Family Insurance Company (N.D. Ohio): Co-lead counsel in ERISA class
     action.

     Jenkins v. Lawrence E. Keeble, Marcelo Pinto and Star Transportation, Inc. (Davidson Cty. Cir. Ct.,
     Tenn.): Lead counsel in personal injury action which led to the single largest auto negligence
     verdict in Tennessee for 2009.

     Johnson v. Direct Shopping Network, Inc. (L.A. Sup. Ct., Cal.): Co-lead counsel in consumer
     protection and false advertising class action.

     Johnson v. Nissan North America, Inc. (N.D. Cal.): Co-lead counsel in vehicle safety defect class
     action.

     Klug v. Watts Regulator Co. (D. Neb.): Co-lead counsel in product defect class action.

     Kondash v. Kia Motors America (S.D. Ohio): Co-lead counsel in vehicle safety class action.

     Krause v. MB Financial Bank (Cook Cty. Cir. Ct., Ill.): Co-lead counsel in overdraft fee class action.

     Lewis v. Allegheny Ludlum Corp. (W.D. Penn.): Co-lead counsel in ERISA class action.

     Lowther v. AK Steel (S.D. Ohio): Co-lead counsel in ERISA class action.

     Meadow v. NIBCO, Inc. (M.D. Tenn.): Counsel in product defect class action.

     Meek v. Skywest Airlines, Inc. (N.D. Cal.): Co-lead counsel in employee wage and hour class
     action.

     Merkner v. AK Steel (S.D. Ohio): Co-lead counsel in ERISA class action.

     Michelhaugh v. Consolidated Nuclear Security, LLC (Anderson County Tenn. Cir. Ct.): Lead counsel
     in breach of contract class action.

     Moreno v. Toyota Motor Sales (C.D. Cal.): Co-lead counsel in vehicle safety defect class action.

     Mull v. Glacier Bank (Lincoln Cty. Cir. Ct., Mont.): Co-lead counsel in overdraft fee class action.




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     Muzingo v. Bank of the Ozarks (Pulaski Cty. Cir. Ct., Ark.): Co-lead counsel in overdraft fee class
     action.

     O’Keefe v. Pick Five Imports, Inc. (M.D. Fla.): Co-Lead counsel in defective product class action.

     Price v. L’Oreal USA Inc. (S.D. N.Y.): Co-lead counsel in false advertising class action.

     Roberts v. Electrolux Home Products, Inc. (C.D. Cal.): Co-lead counsel in multistate safety defect
     class action.

     Rysewyk v. Sears Holding Corporation (N.D. Ill.): Co-lead counsel in product defect class action.

     Samuel v. Chrysler Group LLC (C.D. Cal.): Co-lead counsel in multistate vehicle safety defect class
     action.

     Sanborn v. Nissan North America, Inc. (S.D. Fla.): Co-lead counsel in vehicle safety defect class
     action.

     Sanchez v. General Motors (N.D. Ill.): Co-lead counsel in vehicle defect class action.

     Satterfield v. Alcoa, Inc., 266 S.W. 3d 347 (Tenn. 2008): Co-lead counsel in Tennessee Supreme
     Court case in which the Supreme Court ruled that a duty is owed by Alcoa to a nonemployee
     household member as it relates to the household member’s contraction of mesothelioma.

     Stedman v. Mazda Motor Corp. (C.D. Cal.): Co-lead counsel in multistate vehicle safety defect
     class action.

     Swift v. QNB Bank (Bucks Cty Cir. Ct., Penn.): Co-lead counsel in overdraft fee class action.

     Tanasi v. New Alliance Bank (W.D.N.Y.): Co-lead counsel in overdraft fee class action.

     Tapp v. Skywest Airlines, Inc. (N.D. Ill.): Co-lead counsel in employee wage and hour class action.

     Vickery v. Lumber Liquidators (E.D. Tenn.): Co-lead counsel in product defect class action.

     Watson v. Westgate Resorts, Inc. (E.D. Tenn.): Co-lead counsel in a Fair Labor Standards Act case.

     West v. East Tennessee Pioneer Oil Co. (Tenn.): A Tennessee Supreme Court case in which the
     Court ruled a convenience store had a legal duty to the plaintiffs for selling gas to an obviously
     intoxicated driver.

     White v. Nutribullet, LLC (C.D. Cal.): Lead counsel in product defect class action.

     Williams v. FCA US LLC (W.D. Missouri): Co-lead counsel in vehicle safety defect class action.




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         Gregory F. Coleman | Founder and Managing Partner
                                          Greg Coleman is the Founder and Managing Partner of Greg Coleman
                                          Law PC with 30 years of trial and appellate experience. Greg received his
                                          B.A. with highest honors and distinction from Jacksonville State University
                                          in 1986. He attended The University of Tennessee College of Law,
                                          graduating in 1989. In addition to distinguishing himself academically,
                                          Greg was a member of the National Trial Moot Court Team, was the
                                          recipient of the American Jurisprudence Award for National Trial Team
                                          and was listed in Who's Who Among Rising Young Americans. In addition,
                                          the College of Law bestowed upon Greg the honor of inclusion into the
                                          National Order of Barristers for outstanding oral advocacy and trial skills.

                                          Greg's practice focuses on class actions, products liability, medical
                                          malpractice, personal injury, complex multi-district litigation, toxic torts,
                                          premises liability, ERISA, ERISA class actions, drug and medical device
                                          litigation, and workers' compensation.

                                          He was co-lead counsel in a defective products case against Electrolux in
                                          which he and co-counsel successfully obtained a settlement on behalf of
                                          a class of more than one million members regarding defectively
                                          manufactured dryers. The settlement resulted in an expected utilization
settlement value of over $35 million.

Greg was co-lead counsel in a series of automobile defect class actions against General Motors in Florida, Illinois,
and California, in which he and co-counsel successfully obtained a $42 million settlement on behalf of a class of 1.6
million consumers regarding excessive oil consumption.

He was lead trial counsel in an ERISA class action against AK Steel Corporation in which he successfully obtained a
$178.6 million settlement on behalf of a class of over 3,000 retirees of AK Steel’s Butler Works Plant in Pennsylvania
in 2011. Excerpts from the final approval hearing before Judge Black:

“[T]he class has been enormously well represented by the attorneys in this case. I started with the
observation that this was a historic moment. I genuinely believe that.

“The plaintiffs and the members of the class have been enormously well represented by counsel.”

“[T]here is no doubt that the settlements herein represent excellent result for the class members and
obviate all risk of continued litigation.”

“[T]he Court finds that the hourly and salaried settlements represent excellent result for the class members
and provides them with a substantial benefit.”

“I reach the conclusion based on acknowledging the extraordinary benefit achieved for the class, the high
level of value of these plaintiffs’ counsel’s services. The lawyers here are excellent, highly regarded, and
their service has brought great value to the class.“




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“I acknowledge this was a complex and demanding case involving a great deal of work and that the end
result occurred largely, if not fully, attributable to the diligence, determination, hard work of plaintiffs’
counsel, who were vigorously contested, as the company was represented by extraordinary lawyers.

                               Judge Timothy S. Black, U.S.D.C. S.D. Ohio.

Greg was also lead trial counsel in an ERISA class action case against AK Steel Corporation in which he successfully
obtained a $15.8 million settlement on behalf of a class of over 250 retirees of AK Steel’s Zanesville Works Plant in
Ohio in 2012.

He was lead counsel in a week-long trucking accident trial in which he obtained the largest negligence verdict in the
state of Tennessee for 2009. Jenkins v. Keeble, Davidson County.

Greg Coleman has been and is currently involved in complex product liability and drug product liability litigation
and has tried more than one hundred jury trials and countless other bench trials during his career. He has tried jury
trials throughout the country and has been admitted pro hac vice in complex matters nationwide, including a six-
week long jury trial in Sacramento, California, for which he was lead counsel.

Greg is admitted to practice in the following courts:

    State Courts of Tennessee                                        United States District Court, Eastern District of Missouri
    Tennessee Supreme Court                                          United States District Court, District of Nebraska
    United States Supreme Court                                      United States District Court, Western District of New York
    United States District Court, Eastern District of Tennessee      United States District Court, Eastern District of Wisconsin
    United States District Court, Middle District of Tennessee       United States Court of Appeals for the Second Circuit
    United States District Court, Western District of Tennessee      United States Court of Appeals for the Third Circuit
    United States District Court, District of Colorado               United States Court of Appeals for the Fourth Circuit
    United States District Court, Central District of Illinois       United States Court of Appeals for the Fifth Circuit
    United States District Court, Northern District of Illinois      United States Court of Appeals for the Sixth Circuit
    United States District Court, Southern District of Illinois      United States Court of Appeals for the Seventh Circuit
    United States District Court, Southern District of Indiana       United States Court of Appeals for the Ninth Circuit
    United States District Court, Eastern District of Michigan       United States Court of Federal Claims


He is certified as a Civil Trial Advocacy Specialist and as a Civil Pretrial Advocacy Specialist by the National Board of
Trial Advocacy. Greg is a member of the American Bar Association, Tennessee Bar Association, and is also a member
of the Knoxville Bar Association.

Greg is listed in Best Lawyers in America in two separate categories and has been named one of the Top 100 Trial
Lawyers by the American Trial Lawyers Association. He was named as Best Lawyers of America Lawyer of the Year in
Products Liability and was also named by the U.S. News and World Report as one of the best lawyers and law firms
in the country. Additionally, Greg has been recognized as one of Knoxville’s Top Attorneys in eight separate
categories. Greg Coleman Law is and has been ranked among the “Best Law Firms” by U.S. News & World Report
and Best Lawyer. Greg Coleman Law also received the 2014 and 2015 Litigator Awards from the Trial Lawyers Board
of Regents.

Greg is proud to have been recognized by his colleagues through nomination to the Martindale-Hubbell Bar
Register of Preeminent Lawyers which includes only those select law practices that have earned the highest rating in
the Martindale-Hubbell Law Directory and have been designated by their colleagues as preeminent in their field. He
is AV rated by the Martindale Hubble Legal Rating System Judicial Edition and Peer Review Edition, and is a Charter



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Member and Senior Fellow of the Litigation Counsel of America, "a trial lawyer honorary society established to
reflect the new face of the American Bar with limited membership representing less than one-half of one percent of
American lawyers and is by invitation only." He is a Mid-South Super Lawyer representing the top five percent of
Arkansas, Mississippi, and Tennessee attorneys. Greg is a lifetime member of the prestigious Multi-Million Dollar
Advocates Forum, an organization whose members are limited to attorneys who have won multi-million dollar
verdicts and settlements. He is a Charter member of the Knoxville Chapter of the American Inns of Court and a
member of the American Association for Justice and Public Justice. Greg has been featured in Newsweek Magazine
in their Showcase of Nationwide Top Attorneys.

Greg has served as a guest lecturer and speaker on Advanced Trial Advocacy and at national seminars, including
those sponsored by the Tennessee Bar Association, the National Business Institute, and Mass Torts Made Perfect.
He has lectured extensively for many years on topics such as advanced trial tactics and strategy and complex
litigation matters. He has authored published materials regarding advanced trial strategy, ethics seminars, as well as
numerous other publications for CLE seminars at which he has lectured.

Greg has been actively involved in civil and charitable activities, having served for many years on the Executive
Board of Trustees for the Baptist Health System, including the Baptist Hospital of East Tennessee and related
entities, and has been involved in many legal aid and pro bono projects in the Knoxville area. Greg and his firm are
donors to the annual Mission of Hope Christmas Barrel drive providing warm coats for the children of rural
Appalachia. In support of the Knoxville Academy of Medicine and Knoxville Academy of Medicine Alliance’s
Conversation Ready Project, Greg performed at the “A Little More Conversation” event. The Conversation Ready
Project is a program of the Knoxville Academy of Medicine Foundation and was formed to ensure that everyone’s
end-of-life wishes are expressed and respected.

Reported Cases:

West v. East Tennessee Pioneer Oil Co., 172 S.W. 3d 545 (Tenn. 2005), which is a Tennessee Supreme Court case in
which the Supreme Court ruled a convenience store had a legal duty to the plaintiffs Gary West and Michelle
Richardson (Greg's clients) for selling gas to an obviously intoxicated driver, who then had an accident with Gary
West and Michelle Richardson on the roadway. This case was the first case to find that a convenience store had a
legal duty to a driver on the roadway (Gary West and Michelle Richardson) for selling gas to an obviously
intoxicated driver who then had an accident with Greg's clients.

Satterfield v. Alcoa, Inc., 266 S.W. 3d 347 (Tenn. 2008), which is a Tennessee Supreme Court case in which the
Supreme Court ruled that a duty is owed by Alcoa to a nonemployee household member as it relates to the
household members contraction of mesothelioma.

Merkner v. AK Steel, 2010 U.S. Dist. LEXIS 12742, 48 BNA 1923.

Lowther v. AK Steel, 2012 U.S. Dist. LEXIS 181476, 54 BNA 1931.




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     Adam A. Edwards | Senior Attorney
                                           Adam Edwards is a Senior Attorney at Greg Coleman Law,
                                           and acts as the lead attorney on many of the firm’s serious
                                           personal injury cases. He also serves as a primary litigator
                                           on many of the firm’s class action, multi-district litigation,
                                           and defective product cases.

                                           He attended The University of Tennessee where he
                                           received his undergraduate degree in political science and
                                           served as a field office intern for United States Senator and
                                           former Senate Majority Leader, Dr. Bill Frist.

                                             After graduating from UT, Mr. Edwards was accepted into
                                             the Juris Doctor program at the Washburn University
                                             School of Law where he was awarded an academic merit
                                             scholarship after his first year of coursework. While at
                                             Washburn, Adam excelled in oral advocacy and was
                                             selected as the President of the Moot Court Counsel on
                                             Oral Advocacy. He was also selected as a member of the
     Order of Barristers. He received his JD after graduating with Dean’s Honors in 2000.

     Adam's formal legal career started when he accepted a position as an Attorney at Husch Blackwell
     (formerly Blackwell Sanders) in Kansas City, Missouri in 2000. During the first four years of his
     legal career, Mr. Edwards successfully defended a number of well-known insurance companies
     and corporations in a wide range of litigation matters.

     Today, Mr. Edwards utilizes his extensive trial experience and diverse background to advocate for
     personal injury victims and consumers who have suffered damages resulting from dangerous and
     defective products.

     Mr. Edwards was selected by fellow members of the Knoxville Bar as a "Top Attorney" in CITYVIEW
     Magazine's annual Top Attorney's issue. He was selected as a Top Attorney for a second time in
     2010. In 2017, Mr. Edwards was named one of the Top 100 Trial Lawyers by the American Trial
     Lawyers Association. He was also selected for membership into the Million Dollar Advocates
     Forum, an honor reserved for trial lawyers who have secured a settlement or verdict in excess of
     one million dollars.

     Practice Areas: Class Actions, Consumer Protection/Consumer Rights, Motor Vehicle Accident
     Litigation, Multi District Litigation, Business Litigation, Medical Malpractice, Workers’
     Compensation, Nursing Home Neglect, Personal Injury, Product Liability, Wrongful Death




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     Mark E. Silvey | Senior Attorney

                                             Mark E. Silvey is a Senior Attorney at Greg Coleman Law,
                                             and focuses primarily on the firm’s complex litigation and
                                             class action cases.     Mark is a native of Knoxville,
                                             Tennessee growing up in the Halls community, with
                                             family ties going back several generations.         Mark’s
                                             grandfather, Adrian Burnett, served on the Knox County
                                             School Board for a number of years. Mark received a
                                             bachelor’s degree in history from the University of
                                             Tennessee in 1984, concentrating in the study of
                                             medieval Japan and the early 20th century in the United
                                             States. He was an invited participant in the Honors
                                             History program in 1983. He also served on the Dean’s
                                             Student Advisory Council for the College of Arts and
                                             Sciences.

                                             Mark received his law degree in 1988 from the University
                                             of Tennessee. A member of the National Trial Team, he
                                             received recognition as an Outstanding Clinic Student for
                                             the Spring 1988 semester.

     Offered an opportunity to relocate to Atlanta, Georgia, in 1997 Mark became an in-house
     attorney for State Farm Mutual Automobile Insurance Company. Staying in-house, but moving to
     Travelers Indemnity Company in 2001 in Atlanta, Mark returned home to Knoxville in 2006 to
     open a new in-house counsel office for Travelers. Mark returned to private practice with Greg
     Coleman Law PC in 2010.

     Mark’s 31-year litigation career highlights includes more than 100 jury trials, more than 100 bench
     trials, and many appellate cases. An active musician with wide ranging interests, Mark currently
     acts as the legal advisor to TheMarchingRoundtable.com and The Marching Roundtable Judges
     Academy.

     Practice Areas: Class Actions, Consumer Protection/Consumer Rights, Multi District Litigation,
     Business Litigation, Product Liability, ERISA, Employment Law, Motor Vehicle Accident Litigation,
     Wrongful Death




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     Lisa A. White | Senior Attorney

                                                  Lisa White is a Senior Attorney at Greg Coleman Law
                                                  PC working in the areas of complex litigation, class
                                                  action cases, and wage and hour class and collective
                                                  actions. She joined the firm in 2014. Her primary
                                                  areas of focus are product defect class actions
                                                  (representing consumers who have purchased
                                                  defective products manufactured by corporations
                                                  that refuse to “do the right thing” by recalling or
                                                  repairing the defect, or reimbursing consumers for
                                                  damages caused by the defect), and fair wage cases
                                                  (representing current and former employees against
                                                  businesses that routinely violate the Fair Labor
                                                  Standards Act and state wage laws). She has taken a
                                                  lead role in a number of wage-related class actions in
                                                  the airline industry, which are especially complicated
                                                  by the intersection of interstate travel, airline
                                                  regulations, the Railway Labor Act, and the dormant
                                                  Commerce Clause. She has a lead role in the firm’s
                                                  ongoing case against SkyWest Airlines, in which the
                                                  Seventh Circuit Court of Appeals reversed the District
                                                  Court’s dismissal of claims made on behalf of flight
                                                  attendants alleging they were underpaid.

     The majority of the cases Lisa works on are filed in the federal court system, both in the District
     Courts and Circuit Courts of Appeals. Prior to joining Greg Coleman Law, her law practice
     included extensive trial and appellate experience.

     A writer and researcher at heart, Lisa returned to law school after completing her Bachelor’s in
     Sociology and Masters in Sociology from The University of Tennessee, and received a Chancellor’s
     honor for Extraordinary Professional Promise upon graduating. She taught for a number of years
     at several universities. In addition, she completed the coursework for her PhD in American
     Studies at The College of William and Mary just prior to entering law school. Lisa is a graduate of
     The University of Tennessee College of Law.

     While at The University of Tennessee College of Law, Lisa was a Co-Coordinator of Tennessee
     Innocence Project, the Research Editor for Tennessee Journal of Law and Policy, and practiced in
     both the Domestic Violence Clinic and the Advocacy Clinic. As a student, Lisa won first place in
     the American Bar Association's Commission on Domestic and Sexual Violence Student Writing
     Competition for her paper: “Unlikely Bedfellows: The Intersection Between The Defense of
     Marriage Act(s) and Domestic Violence Prosecution.” Lisa has had a number of papers published
     in peer-reviewed journals in law as well as in other academic fields including both sociology and
     history. In Spring 2018, an article she wrote on South Dakota v. Wayfair, Inc., a case that was
     pending before the U.S. Supreme Court at the time, was published in Dicta, a publication of the
     Knoxville Bar Association.



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     Ms. White has been selected by fellow members of the Knoxville Bar as a "Top Attorney" in
     CITYVIEW Magazine's annual Top Attorneys’ issue.

     Lisa and her family are avid travelers and she has visited all seven continents. In addition, she has
     worked remotely for Greg Coleman Law PC while living on the South Island of New Zealand.

     Practice Areas: Class Actions, Fair Labor Practices (including litigation in the airline industry),
     Consumer Protection/Consumer Rights, Multi District Litigation, Business Litigation, Product
     Liability, ERISA




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     Rachel Soffin | Senior Attorney
                                                  Rachel Soffin is a Senior Attorney at Greg Coleman
                                                  Law and focuses on consumer class action litigation.
                                                  She has spent the majority of her career prosecuting
                                                  class action cases, including state and federal class
                                                  actions involving product manufacturers and retailers,
                                                  deceptive trade practices, privacy violations, and
                                                  insurance and banking disputes. Prior to joining Greg
                                                  Coleman Law, Rachel worked in the area of consumer
                                                  class actions in Morgan & Morgan’s Tampa office.
                                                  Prior to her time at Morgan & Morgan, Rachel served
                                                  as in-house counsel for one of Florida’s largest
                                                  employee leasing companies.

                                                  Rachel obtained her undergraduate degree in Finance,
                                                  with honors, from The Florida State University. While
                                                  in college, she worked at the Florida Legislature,
                                                  where she worked closely with government leaders.
                                                  Rachel earned her law degree from Stetson University
                                                  College of Law, cum laude, where she served as a
                                                  Digest Writer on the Stetson Law Review and was
                                                  published multiple times in that capacity.

     Rachel is admitted to practice in the state courts of Florida and Georgia, and in the United States
     District Court for the Middle District of Florida, the United States District Court for the Southern
     District of Florida, the United States District Court for the Northern District of Georgia, the United
     States District Court for the Northern District of Illinois, and the United States Court of Appeals for
     the Eleventh Judicial Circuit.

     Ms. Soffin has been designated by Super Lawyers as a Florida Rising Star (2011-2013), and as a
     Florida Super Lawyer (2014-2018) in the fields of Class Actions/Mass Torts.

     Practice Areas: Class Actions, Consumer Protection, Mass Torts




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     Arthur Stock | Senior Attorney
                                                     Arthur Stock joined Greg Coleman Law as a Senior
                                                     Attorney in 2019. Previously, he had been a
                                                     shareholder at Berger Montague in Philadelphia,
                                                     Pennsylvania for over 20 years. Throughout his
                                                     career, he has represented plaintiffs in commercial,
                                                     financial, securities, and consumer class actions.
                                                     He has also represented whistleblowers in qui tam
                                                     actions in federal courts, and in administrative
                                                     proceedings before the U.S. Securities and
                                                     Exchange Commission, the Internal Revenue
                                                     Service, and the United States Tax Court.

                                                   Mr. Stock was a principal litigator in numerous
                                                   class actions, including: Merrill Lynch Inc. Securities
                                                   Litigation, which resulted in a $475 million
                                                   settlement on behalf of investors in Merrill Lynch
                                                   securities; Lee v. Enterprise Leasing Co., in which
                                                   class members recovered 80% of alleged damages
     from allegedly illegal charges regarding Nevada airport car rentals; and Vasco v. PHRG, an action
     brought under the Telephone Consumer Protection Act, in which class members recovered $5.2
     million from a business that allegedly placed telemarketing calls to consumers without prior
     express consent.

     Before entering private practice, Mr. Stock served as a Law Clerk to the Honorable Jackson L.
     Kiser, United States District Court of the Western District of Virginia.

     Representative reported decisions:

     Richardson v. Verde Energy USA, Inc., 354 F.Supp.3d 639 (E.D. Pa. 2018), and 2016 WL 7380708
     (E.D. Pa. Dec. 19, 2016), (sustaining complaint and partially denying summary judgment in TCPA
     class action).

     South Peninsula Hospital v. Xerox State Healthcare LLC, 223 F.Supp.3d 929 (D. Alaska 2016)
     (sustaining complaint in class action brought on behalf of healthcare providers in Alaska for
     improper delays and denials of Medicaid reimbursement caused by allegedly defective software).

     Vasco v. PHRG, 2016 WL 5930876 (E.D. Pa. Oct. 12, 2016) (approving consumer class settlement).

     Lee v. Enterprise Leasing Co.-West, 2015 WL 2345540 (D. Nev. May 15, 2015), and 300 F.R.D. 466
     (D. Nev. 2014), and 30 F.Supp.3d 1002 (D. Nev. 2014) (granting plaintiffs’ motions for summary
     judgment, class certification, and approval of settlement, in consumer class action alleging
     overcharges on airport car rentals).

     In re Clarus Corp. Securities Litigation, 201 F.Supp.2d 1244 (N.D. Ga. 2002) (sustaining complaint
     in securities fraud class action).



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     Publications:

     “Theory v. Practice: A Comment on Orin Kerr’s ‘A Theory of Law’,” 16 Green Bag 2d 224 (Winter, 2013)

     “Make Way for Lawsuits,” 11th Annual NERA Finance, Law & Economics Securities Litigation
     Conference

     Education:

     Yale University, B.A. with distinction in economics
             Two majors: economics and philosophy

     Duke University School of Law, J.D. with high honors
            Articles Editor, Duke Law Journal
            Order of the Coif

     Admissions:

     State Courts of Pennsylvania
     State Courts of North Carolina
     Pennsylvania Supreme Court
     United States District Court of the Eastern District of Pennsylvania
     United States Court of Appeals for the Seventh Circuit
     United States Court of Appeals for the Ninth Circuit
     United States Tax Court

     Practice Areas: Class Actions, Complex Litigation, Fair Labor Practices, Consumer Protection,
     Consumer Rights




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     Martha Geer | Senior Attorney
                                                      Martha Geer has a combination of
                                                      experience that few attorneys possess and
                                                      clients find invaluable. She has practiced
                                                      for more than two decades as a respected
                                                      litigator and appellate advocate, and
                                                      served for more than 13 years as a rarely-
                                                      reversed appellate judge. As a trial lawyer
                                                      and board-certified appellate specialist,
                                                      Judge Geer is known for obtaining cutting-
                                                      edge and precedent-setting victories in
                                                      both class actions and individual cases in a
                                                      diverse set of practice areas, including
                                                      consumer protection, securities, ERISA,
     environmental, labor and employment law, antitrust and trade regulation, contingent
     commercial litigation, and civil rights litigation.

     Judge Geer received her B.A. summa cum laude from Bryn Mawr College and her J.D.
     with high honors from the University of North Carolina Schoo l of Law where she was a
     Morehead Fellow (a merit-based full scholarship), and served as Managing Editor of the
     North Carolina Law Review.

     After law school, Judge Geer joined Paul Weiss, one of the top law firms in the country,
     where she represented corporate clients in class actions, shareholder litigation, and
     commercial disputes. Subsequently, she was a partner with two leading North Carolina
     plaintiffs' firms (a founding member of the second firm), and represented plaintiffs in a
     wide range of complex civil litigation, including class actions and individual cases.

     She was first elected to the North Carolina Court of Appeals in 2002. In 2010, because of
     her reputation as a fair and impartial judge, she garnered strong bipartisan support
     resulting in her winning re-election by a 20-point margin. During her tenure, Judge Geer
     heard more than 3,800 appeals, authored more than 1,350 opinions, and had her
     opinions reversed less than 2% of the time. She left the Court of Appeals to become a
     partner at Cohen Milstein Sellers & Toll LLP, a leading plaintiffs’ class action firm, and
     founded its Raleigh office. In 2019, she joined Greg Coleman Law as a Senior Attorney.

     Judge Geer is a highly sought-after teacher of continuing education programs for both
     judges and lawyers. As a trial and appellate lawyer, she has been regularly recognized in
     The Best Lawyers in America, most recently (2018, 2019, and 2020 eds.) in the areas of
     appellate practice and mass tort/class actions. Prior to joining the bench, she was
     selected by Business North Carolina as one of North Carolina’s “Legal Elite.”




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     Alex R. Straus | Senior Attorney
                                                   Alex R. Straus was born and raised in New York,
                                                   NY. Alex is currently licensed to practice law in
                                                   California, Massachusetts, New York, Rhode Island,
                                                   and South Carolina. For more than a decade, Alex
                                                   has represented consumers, labor unions, and
                                                   municipalities throughout the United States in
                                                   practice areas ranging from complex tort and
                                                   personal injury to antitrust and securities litigation.
                                                   Prior to joining Greg Coleman Law, Alex spent the
                                                   majority of his legal career as a litigation attorney
                                                   with Motley Rice LLC after a long career as an
                                                   investigative journalist and author. In 2013, Alex
                                                   authored an amicus curiae brief filed in the United
                                                   States Supreme Court in support of a shipyard
                                                   worker who died as a result of asbestos exposure.

                                                     An avid writer, Alex co-authored with legendary
     trial lawyer, Ron Motley, a chapter in the book Pathology of Asbestos-Related Diseases, which was
     published in 2014. Alex has also authored two books, Medical Marvels: The 100 Most Important
     Medical Advances (Prometheus Books, 2006) and Guerrilla Golf: The Complete Guide to Playing
     Golf on Mountains, Pastures, City Streets and Everywhere But the Course (Rodale Press, 2006).
     The author of more than 100 nationally published feature-length articles, Alex won the New York
     Press Association Best Sports Feature award in 1999.

     As a law student at Roger Williams University School of Law, Alex was the 2009 recipient of the
     Kathleen Brit Memorial Prize for Alternative Dispute Resolution and served as law clerk for the
     New England Patriots, working with the team’s General Counsel on real estate acquisitions,
     environmental compliance, and collective bargaining issues. Alex attended Rollins College in
     Winter Park, Florida and Columbia University’s School of International and Public Affairs in New
     York, New York.

     Publications:

            “Pathology of Asbestos-Related Diseases" (2013)
            "Medical Marvels: The 100 Most Important Medical Advances" (Prometheus Books, 2006)
            "Guerrilla Golf: The Complete Guide to Playing Golf on Mountains, Pastures, City Streets
             and Everywhere But the Course" (Rodale Press, 2006)

     Education:

            Rollins College in Winter Park, Florida
            Columbia University’s School of International and Public Affairs in New York, New York
            Roger Williams University School of Law


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                   o   2009 recipient of the Kathleen Brit Memorial Prize for Alternative Dispute
                       Resolution
     Admissions:

           State Courts of California
           State Court of Massachusetts
           State Court of New York
           State Court of Rhode Island
           State Court of South Carolina

     Alex serves as an Executive Board Member of the Gary Forbes Foundation, a nonprofit
     organization that advocates for diabetes research and education. Active in his community, he has
     worked with Volunteer of America’s Operation Backpack, an organization that provides school
     supplies to more than 7,000 homeless children in New York City.




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     Jonathan Cohen | Senior Attorney
                                                       Jonathan Cohen is a Senior Attorney at Greg
                                                       Coleman Law and focuses on consumer class
                                                       action litigation. Jonathan has spent his
                                                       entire legal career prosecuting class actions,
                                                       including state and federal consumer class
                                                       actions against banks, mortgage companies,
                                                       debt collectors, retailers, and insurance
                                                       companies alleging violations of the Florida
                                                       Deceptive and Unfair Trade Practices Act, the
                                                       Telephone Consumer Protection Act, the Fair
                                                       Credit Reporting Act, and the forced
                                                       placement of insurance. He has also
                                                       prosecuted class actions involving data
                                                       breaches, defective products, deceptive
                                                       products, breaches of contract, employment
                                                       discrimination, and illegal taxation. Jonathan
                                                       also served as counsel for the court-
                                                       appointed receiver in the Ponzi scheme-
     related matter of Wiand v. Wells Fargo Bank, et al., Case No. 8:12-cv-557-T-27EAJ (M.D. Fla.).
     Prior to joining Greg Coleman Law, Jonathan was a partner in Morgan & Morgan’s Complex
     Litigation Group in Tampa, Florida. Prior to his time at Morgan & Morgan, Jonathan was a
     partner at James, Hoyer, Newcomer & Smiljanich, P.A., a firm specializing in the prosecution of
     nationwide consumer class actions and whistleblower (qui tam) actions.

     Jonathan was born in Albany, New York and raised in Nashville, Tennessee. He attended Indiana
     University and graduated in 1996 with a Bachelor of Arts degree in Journalism. Following a career
     in marketing and advertising in Chicago, Jonathan relocated to St. Petersburg, Florida, where he
     attended Stetson University College of Law and earned his Juris Doctor degree in 2005. During
     his tenure at Stetson, Jonathan was an intern for the State Attorney’s Office (Economic Crimes
     Unit), Thirteenth Judicial Circuit, Hillsborough County, and for the Honorable David A. Demers,
     Sixth Judicial Circuit of Florida.

     Jonathan is admitted to practice in the state courts of Florida, and in the U.S. District Court for the
     Middle District of Florida, U.S. District Court for the Southern District of Florida, U.S. District Court
     for the Northern District of Illinois, U.S. District Court for the Western District of Wisconsin, U.S.
     District Court for the District of Colorado, and U.S. Courts of Appeals for the First, Fifth, and
     Eleventh Circuits.

     Practice Areas: Class Actions, Consumer Protection, Mass Torts




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     Class Counsel Appointments:

     Mr. Cohen has been appointed class counsel by courts in the following representative cases:

        Black-Brown v. Terminix Int’l Co. Ltd. Partnership, Case No. 16-cv-23607 (S.D. Fla.)
        Preman v. Pollo Operations, Inc., Case No. 16-cv-00443 (M.D. Fla.)
        Zyburo v. NCSPlus, Inc., Case No. 12-Cv-6677 (S.D.N.Y.)
        Swift v. Bank of America Corp., et al., No. 14-cv-01539 (M.D. Fla.)
        Ownby v. Citrus County, Florida, Case No. 2004-CA-1840 (Fla. 5th Cir., Citrus County)




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     Justin G. Day | Senior Associate

                                          A native East Tennessean, Justin graduated with
                                          a bachelor’s degree in honors philosophy and
                                          political science from the University of
                                          Tennessee, where he was awarded the Davis
                                          Scholarship and named the top graduate in his
                                          major. Justin then attended law school at the
                                          University of Tennessee College of Law, where he
                                          was a Green Scholar, president of the Christian
                                          Legal Society, and one of the first-ever recipients
                                          of the Jerry P. Black Jr. Student Clinic Attorney
                                          Award.

                                          Before joining Greg Coleman Law, Justin
                                          practiced family law, juvenile law, and criminal
                                          law in Morristown, Tennessee.

                                          Since joining the firm, Justin has been actively
                                          involved in a number of the firm’s practice areas,
                                          including the firm’s personal injury, consumer
                                          protection, and mass tort areas.

                                         Active in his local community, Justin is a member
                                         of Fellowship Church of Knoxville and volunteers
                                         in its children’s ministry. In his spare time, Justin
                                         can usually be found exercising, reading at a
                                         local coffee shop, or playing golf.




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     William A. Ladnier | Associate
                                                    Will Ladnier grew up in Nashville, Tennessee.       A
                                                    lifelong Vols fan, he then moved to Knoxville      to
                                                    attend the University of Tennessee, where          he
                                                    graduated summa cum laude with degrees             in
                                                    Classics, History, and Political Science.

                                                    After obtaining his undergraduate degree, Will
                                                    attended William and Mary Law School in
                                                    Williamsburg, Virginia. While there, he was heavily
                                                    involved as a competing member of the National
                                                    Trial Team and as Articles Editor for the William &
                                                    Mary Law Review. Before graduating cum laude, he
                                                    also worked with a number of judges in Virginia,
                                                    including Justice LeRoy F. Millette on the Supreme
                                                    Court of Virginia.

                                                    Following law school, Will returned to Knoxville and
                                                    clerked with Chief Justice Sharon G. Lee on the
                                                    Tennessee Supreme Court. He then accepted a
                                                    position with Arnett, Draper & Hagood, focusing
                                                    on insurance defense and medical malpractice and
                                                    healthcare liability defense, representing the largest
                                                    hospital association in the region.

     Will joined Greg Coleman Law in 2018, shifting his practice to representing plaintiffs. He primarily
     practices in the areas of complex litigation and class action cases. Will is admitted to practice in
     Tennessee in both state and federal court in the Eastern District, and he is also a member of the
     Knoxville and Tennessee Bar Associations.

     When not working, Will enjoys spending time with his wife, son, and dog, and if it’s a weekend,
     you’ll find him watching Vols and Titans football.

     Practice Areas: Class Actions, Complex Litigation, Fair Labor Practices, Consumer Protection,
     Consumer Rights, Multi District Litigation, Product Liability




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     Ryan P. McMillan | Associate
                                                         Ryan is a native of East Tennessee and grew up
                                                         in Oak Ridge. There he was active in the Boy
                                                         Scouts and competitive rowing. He attended
                                                         the University of Mary Washington in
                                                         Fredericksburg, Virginia, where he received his
                                                         Bachelor’s Degree, cum laude, in History.

                                                         Ryan returned to Tennessee in 2006 and later
                                                         went to law school at the University of
                                                         Tennessee, where he focused primarily on
                                                         employment law. While in law school he
                                                         clerked for the United States Department of
                                                         Energy and London and Amburn, P.C. He also
                                                         was a staff editor for the Tennessee Journal of
                                                         Law and Policy and received the Patrick L.
                                                         Hardin Award for Excellence in Employment
                                                         and Labor Law.

                                                         After law school, Ryan worked at Dale
                                                         Buchanan and Associates for many years
                                                         where he represented thousands of disabled
                                                         clients.

     In 2019, Ryan joined Greg Coleman Law to continue his work in representing plaintiffs, primarily
     in class action and complex litigation matters.

     Ryan lives in Alcoa with his wife and son. In his free time, Ryan enjoys hiking in the Smokies,
     spending time with his family, and traveling.

     Practice Areas: Class Actions, Complex Litigation, ERISA, Disability Law




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     Louis W. Ringger, III (Billy) | Associate
                                                           Billy Ringger joined Greg Coleman Law in
                                                           2019, bringing extensive experience in the
                                                           areas of complex civil litigation and
                                                           appellate practice. Before joining the firm,
                                                           Mr. Ringger practiced with the Knoxville
                                                           law firm, Butler, Vines & Babb, PLLC, where
                                                           he built a strong reputation as a successful
                                                           litigator and a skilled advocate. Mr. Ringger
                                                           now represents plaintiffs in a wide range of
                                                           complex civil matters, including medical
                                                           malpractice, toxic exposure, environmental
                                                           damage litigation, civil rights actions, and
                                                           whistleblower suits.

                                                         The son of a lawyer, Mr. Ringger is
                                                         originally from Parsons, Tennessee, a small
     West Tennessee town near the Tennessee River. He moved to Knoxville in 2002 to attend the
     University of Tennessee as an undergraduate and quickly fell in love with the area. He later
     attended UT law school, where he was recognized for his skills in advocacy, receiving the Ogden
     and Sullivan Moot Court Brief Writing Award and the Susan B. Devitt National Moot Court Award
     for Written and Oral Advocacy.

     After law school, Mr. Ringger served as judicial law clerk to then Chief Justice Sharon Lee of the
     Tennessee Supreme Court. He remained in this role for nearly two-and-a-half years, serving as
     Chief of Staff to the Chief Justice for much of that time. Through this experience, Mr. Ringger
     gained extensive knowledge of current and emerging Tennessee law and unique insight into the
     Tennessee judicial process.

     Mr. Ringger is licensed to practice law in all state and federal courts in Tennessee and the United
     States Court of Appeals for the Sixth Circuit. He is a member of the Knoxville and Tennessee Bar
     Associations, and the Tennessee Trial Lawyers Association. He currently serves on the executive
     committee of the TBA Tort and Insurance Law section, and as Secretary of the KBA
     Professionalism Committee. Outside of his practice, Mr. Ringger enjoys spending time with his
     family and hiking in the East Tennessee mountains.

     Practice Areas: General Civil Litigation, Personal Injury, Medical Malpractice, Toxic Torts, Civil
     Rights, Whistleblower Actions




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     Mark E. Silvey                  mark@gregcolemanlaw.com       865-232-1319
     Lisa A. White                   lisa@gregcolemanlaw.com       865-243-3495
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     Alex Straus                     alex@gregcolemanlaw.com       865-247-0080
     Jonathan Cohen                  jonathan@gregcolemanlaw.com   813-786-8622
     Justin G. Day                   justin@gregcolemanlaw.com      865-410-8190
     William A. Ladnier              will@gregcolemanlaw.com       865-232-1318
     Ryan P. McMillan                ryan@gregcolemanlaw.com        865-237-0900
     Louis W. Ringger, III (Billy)   billy@gregcolemanlaw.com       865-217-2700

     Internet:                       www.gregcolemanlaw.com




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                      FIRM RESUME
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                                            FIRM PROFILE

          With offices located in Raleigh, North Carolina; Madisonville, Kentucky; Nashville,
  Tennessee; Charleston, South Carolina; and Los Angeles, California, Whitfield Bryson LLP is
  dedicated to representing plaintiffs in class actions, mass torts, and individual actions in courts
  throughout the United States. Founded in January 2012, the firm was created by a merger of three
  firms with decades of experience representing plaintiffs in complex litigation. Whitfield Bryson LLP
  has since expanded, litigating consumer fraud domestically and internationally.

                                            FIRM RESUME
                                            Attorney Profiles

  John C. Whitfield
  Founding Partner

          For over 38 years, John has been one of the premier trial attorneys in Kentucky and
  Tennessee. He has represented numerous injured parties in the Commonwealth of Kentucky,
  Tennessee, and throughout the southeastern United States. He has concentrated primarily on
  complex civil litigation cases, and over his career has brought to settlement or judgment over 45
  cases in excess of a million dollars each. John is certified as a civil trial specialist by the National
  Board of Trial Advocacy and has represented individuals in all walks of life against negligent
  workplace practices, reckless physicians, predatory businesses, and inattentive truck and
  automobile drivers among many others. John has an additional concentration in the Nashville,
  Tennessee area of representing motorcyclists who have been injured through no fault of their
  own.

          John graduated with distinction from the University of Kentucky in1989, and then
  attended law school at the university, obtaining his J.D. in 1982. Throughout his career, John has
  represented scores of individuals who have been the victims of medical negligence, defective
  drugs, and medical devices, obtaining verdicts and settlements in both state and federal courts.
  He has handled cases for landowners victim to fraudulent mine royalty practices, for subsidence
  caused by coal mining, for homeowners whose homes and business contained defective concrete,
  and for Kentucky residents who were overcharged for premium insurance taxes.

         John is a frequent lecturer of litigation subjects with the Kentucky Justice Association
  and American Association for Justice and has been recognized as a Kentucky Super Lawyer
  multiple times. He is AV rated by the Martindale-Hubbell rating service.

  Daniel K. Bryson
  Founding Partner

          Dan is a founding partner of the firm and is one of the nation’s most respected and
  experienced attorneys in the country in the area of consumer class actions and mass torts. Dan
  also has significant experience working with attorneys, funders and other partners on
  international litigation projects in the Courts in Amsterdam, the United Kingdom, Belgium,
  France, Spain and Portugal, among others.



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          Since 2013, Harper has been regularly selected to Super Lawyers as a Top-Rated
  Attorney in the areas of “Class Action & Mass Torts.” She has co-authored several publications
  on product liability cases, and has been a lecturer on complex legal issues. Harper is a member
  of the American Association for Justice and the Public Justice Foundation.


  Drew Hathaway
  Attorney

          As an attorney at Whitfield Bryson LLP, Drew Hathaway focuses on representing
  consumers in complex litigation. His primary focus is on product liability and consumer
  protection class actions both in the United States and internationally throughout Europe. Along
  with product liability cases, Drew currently represents the elderly in North Carolina’s first ever
  class action against an adult care home chain for understaffing their facilities. In addition to
  representing harmed consumers against some of the largest corporations in the world, Drew also
  represents commercial real estate owners in lawsuits related to defective construction.

         Drew graduated from The University of North Carolina at Chapel Hill in 2003. While
  studying, he was a member of the varsity swim team at Chapel Hill. Drew earned his J.D. from
  Campbell University School of Law in 2007. While at Campbell, Drew was a member of the
  National Moot Court Team, inducted into the Order of Old Kivett and was an editor for the
  Campbell Law Observer.

         Drew spent the first eight years of his career practicing as a defense lawyer with a
  primary focus on medical malpractice and commercial litigation. Drew has extensive trial
  experience and has received numerous honors as a trial attorney including recognition as North
  Carolina Super Lawyers Rising Stars, a peer selection for the top 2.5% of North Carolina
  Lawyers under the age of 40.

         Since 2007, Drew has been on the board of directors for Vidas De Esperanza. Vidas is a
  501(c)(3) non-profit that provides free health care and educational opportunities to the
  underserved in North Carolina and in Mexico. Drew is a member of the Public Justice
  Foundation, the American Association for Justice, the North Carolina Advocates for Justice, the
  Wake County Bar Association and the North Carolina Bar Association.

  Erin Ruben
  Attorney

          Erin Ruben focuses her practice on civil litigation, though she brings a wide range of
  experience in both civil and criminal law. Erin began her career in 2006 as a public defender
  with Virginia’s Indigent Defense Commission, where she represented the county’s most
  vulnerable defendants in criminal matters before judges and juries in the district and circuit
  courts of Fairfax County and in the Virginia Court of Appeals. After relocating to North Carolina
  in 2009, she began her civil litigation practice, primarily representing plaintiffs in medical
  malpractice, personal injury, and employment matters. From 2015-2017, she also owned and



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  operated a small business with a retail location in Raleigh, NC, which provided her with a
  wealth of practical experience she has been able to apply to her practice. Erin is passionate about
  protecting and defending the rights and dignity of her clients through zealous, compassionate
  legal advocacy.

         Erin earned her J.D. from Wake Forest University School of Law in 2006, where she was
  a member of the Moot Court Board. Erin obtained a Bachelor of Business Administration
  (B.B.A.) in Marketing from the University of Georgia in 2003, in addition to a Certificate in
  Personal and Organizational Leadership from UGA’s Institute for Leadership Advancement.
  While at UGA, Erin was honored to be named a Leonard Leadership Scholar, recognizing her
  academic achievement and demonstrated leadership.

  Devon Landman
  Attorney

         Devon Landman is an experienced litigator who focuses her practice on civil litigation,
  criminal defense, and personal injury. As a former prosecutor, Devon previously fought for those
  who have been wronged by crimes. She now diligently, meticulously, and vigorously fights for
  those who have been wronged by others’ negligence. She also passionately defends the rights of
  those accused of crimes and helps secure a fair outcome that allows them to move on with their
  lives.

          Devon earned her undergraduate degree in Communications and Information Sciences
  from the University of Alabama in 2014. She earned her Juris Doctor degree from Belmont
  University College of Law in 2017. While in law school, Devon worked at both the Federal
  Public Defender’s Office in downtown Nashville and the State Attorney’s Office in the 18th
  Judicial Circuit in Viera, Florida.

          After graduating law school, Devon joined the Florida Bar in September 2017. Upon
  licensure, she was an Assistant State Attorney for the State of Florida, prosecuting crimes on
  behalf of the State. During her time as an Assistant State Attorney, she served on the Board of
  Directors for the Brevard County Bar Association’s Young Lawyers Division.

         In the summer of 2019, Devon moved back to Nashville and became licensed in the State
  of Tennessee. She is a member of the Tennessee Bar Association and its Young Lawyers
  Division, the Nashville Bar Association, the Tennessee Trial Lawyers Association, and Lawyers’
  Association for Women – Marion Griffin Chapter. She is also a member of the American
  Association of Justice (AAJ).

  Alex Straus
  Attorney

          Alex R. Straus was born and raised in New York, NY. Alex is currently licensed to
  practice law in California, Massachusetts, New York, Rhode Island, and South Carolina. For
  more than a decade, he has represented consumers, labor unions, and municipalities throughout
  the United States in practice areas ranging from complex tort and personal injury to antitrust and


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  Heartland Community College in 2007. In 2019 and 2020, Patrick was named to the Super
  Lawyers’ Rising Stars list as one of the top young attorneys in North Carolina. Patrick is a
  member of the American Association for Justice and the North Carolina Association for Justice.
  Patrick maintains active involvement in his community through participating in his local church
  and in the Kiwanis Club of Raleigh.

  Hunter Bryson
  Attorney

          Hunter is an associate in Whitfield Bryson LLP’s litigation practice, with a focus on
  defective construction products and construction defect claims. He primarily focuses on
  representing owners who have been the unfortunate victims of poor manufacturing processes, as
  well as homeowners and commercial developers whose properties have been subjected to shoddy
  construction practices.

         Hunter joined Whitfield Bryson LLP’s in 2016, after working as a law clerk for the firm,
  where he assisted in standing up for the rights of injured consumers on a daily basis.

         Hunter earned his law degree from Campbell University School of Law in 2016. While
  at Campbell Law, he was elected as a justice to the honor court, a group leader for the peer
  mentor program, and a participant in the Campbell Law Connections program. Hunter earned
  his Bachelor of Arts degree from the University of North Carolina Chapel Hill, double majoring
  in Political Science and Economics. During the summer, Hunter interned for Themis Law
  Chambers in Cape Town, South Africa.


  Harper T. Segui
  Senior Attorney

        Harper T. Segui is an experienced litigator who focuses her practice on representing
  consumers in products liability litigation and other types of complex litigation across the country.

         Harper attended the University of Central Florida where she obtained her Bachelor of
  Science before attending the Walter F. George School of Law at Mercer University. After
  graduating from law school in 2006, Harper practiced family law and general litigation in the
  Atlanta area for approximately a year before moving to Charleston, South Carolina.

           Since moving to Charleston more than a decade ago, Harper’s primary focus has been
  representing plaintiffs in complex litigation and class actions, with a particular focus on product
  defects. Locally, she has contributed to millions of dollars in settlements and was an active trial
  lawyer in a case that resulted in a multi-million dollar jury verdict in favor of homeowners for a
  developer’s shoddy construction of townhomes in South Carolina. Nationally, she has several
  times been appointed by courts to serve on Plaintiffs’ Steering Committees, and has served as co-
  class counsel in several class actions. Likewise, Harper has enjoyed playing active roles in multi-
  district litigation involving defective products. In the successful resolution of many of those
  cases, she contributed to millions of dollars in settlement money recovered for consumer.



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          Since 2013, Harper has been regularly selected to Super Lawyers as a Top-Rated
  Attorney in the areas of “Class Action & Mass Torts.” She has co-authored several publications
  on product liability cases, and has been a lecturer on complex legal issues. Harper is a member
  of the American Association for Justice and the Public Justice Foundation.


  Drew Hathaway
  Attorney

          As an attorney at Whitfield Bryson LLP, Drew Hathaway focuses on representing
  consumers in complex litigation. His primary focus is on product liability and consumer
  protection class actions both in the United States and internationally throughout Europe. Along
  with product liability cases, Drew currently represents the elderly in North Carolina’s first ever
  class action against an adult care home chain for understaffing their facilities. In addition to
  representing harmed consumers against some of the largest corporations in the world, Drew also
  represents commercial real estate owners in lawsuits related to defective construction.

         Drew graduated from The University of North Carolina at Chapel Hill in 2003. While
  studying, he was a member of the varsity swim team at Chapel Hill. Drew earned his J.D. from
  Campbell University School of Law in 2007. While at Campbell, Drew was a member of the
  National Moot Court Team, inducted into the Order of Old Kivett and was an editor for the
  Campbell Law Observer.

         Drew spent the first eight years of his career practicing as a defense lawyer with a
  primary focus on medical malpractice and commercial litigation. Drew has extensive trial
  experience and has received numerous honors as a trial attorney including recognition as North
  Carolina Super Lawyers Rising Stars, a peer selection for the top 2.5% of North Carolina
  Lawyers under the age of 40.

         Since 2007, Drew has been on the board of directors for Vidas De Esperanza. Vidas is a
  501(c)(3) non-profit that provides free health care and educational opportunities to the
  underserved in North Carolina and in Mexico. Drew is a member of the Public Justice
  Foundation, the American Association for Justice, the North Carolina Advocates for Justice, the
  Wake County Bar Association and the North Carolina Bar Association.

  Erin Ruben
  Attorney

          Erin Ruben focuses her practice on civil litigation, though she brings a wide range of
  experience in both civil and criminal law. Erin began her career in 2006 as a public defender
  with Virginia’s Indigent Defense Commission, where she represented the county’s most
  vulnerable defendants in criminal matters before judges and juries in the district and circuit
  courts of Fairfax County and in the Virginia Court of Appeals. After relocating to North Carolina
  in 2009, she began her civil litigation practice, primarily representing plaintiffs in medical
  malpractice, personal injury, and employment matters. From 2015-2017, she also owned and



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  operated a small business with a retail location in Raleigh, NC, which provided her with a
  wealth of practical experience she has been able to apply to her practice. Erin is passionate about
  protecting and defending the rights and dignity of her clients through zealous, compassionate
  legal advocacy.

         Erin earned her J.D. from Wake Forest University School of Law in 2006, where she was
  a member of the Moot Court Board. Erin obtained a Bachelor of Business Administration
  (B.B.A.) in Marketing from the University of Georgia in 2003, in addition to a Certificate in
  Personal and Organizational Leadership from UGA’s Institute for Leadership Advancement.
  While at UGA, Erin was honored to be named a Leonard Leadership Scholar, recognizing her
  academic achievement and demonstrated leadership.

  Devon Landman
  Attorney

         Devon Landman is an experienced litigator who focuses her practice on civil litigation,
  criminal defense, and personal injury. As a former prosecutor, Devon previously fought for those
  who have been wronged by crimes. She now diligently, meticulously, and vigorously fights for
  those who have been wronged by others’ negligence. She also passionately defends the rights of
  those accused of crimes and helps secure a fair outcome that allows them to move on with their
  lives.

          Devon earned her undergraduate degree in Communications and Information Sciences
  from the University of Alabama in 2014. She earned her Juris Doctor degree from Belmont
  University College of Law in 2017. While in law school, Devon worked at both the Federal
  Public Defender’s Office in downtown Nashville and the State Attorney’s Office in the 18th
  Judicial Circuit in Viera, Florida.

          After graduating law school, Devon joined the Florida Bar in September 2017. Upon
  licensure, she was an Assistant State Attorney for the State of Florida, prosecuting crimes on
  behalf of the State. During her time as an Assistant State Attorney, she served on the Board of
  Directors for the Brevard County Bar Association’s Young Lawyers Division.

         In the summer of 2019, Devon moved back to Nashville and became licensed in the State
  of Tennessee. She is a member of the Tennessee Bar Association and its Young Lawyers
  Division, the Nashville Bar Association, the Tennessee Trial Lawyers Association, and Lawyers’
  Association for Women – Marion Griffin Chapter. She is also a member of the American
  Association of Justice (AAJ).

  Alex Straus
  Attorney

          Alex R. Straus was born and raised in New York, NY. Alex is currently licensed to
  practice law in California, Massachusetts, New York, Rhode Island, and South Carolina. For
  more than a decade, he has represented consumers, labor unions, and municipalities throughout
  the United States in practice areas ranging from complex tort and personal injury to antitrust and


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  securities litigation. Prior to joining Whitfield Bryson LLP, Alex spent the majority of his legal
  career as a litigation attorney with Motley Rice LLC after a long career as an investigative
  journalist and author. In 2013, Alex authored an amicus curiae brief filed in the Supreme Court
  of the United States in support of a shipyard worker who died as a result of asbestos exposure.
          An avid writer, Alex co-authored with legendary trial lawyer, Ron Motley, a chapter in
  the book Pathology of Asbestos-Related Diseases, which was published in 2014. Alex has also
  authored two books, Medical Marvels: The 100 Most Important Medical Advances (Prometheus
  Books, 2006) and Guerrilla Golf: The Complete Guide to Playing Golf on Mountains, Pastures,
  City Streets and Everywhere But the Course (Rodale Press, 2006). The author of more than 100
  nationally published feature-length articles, Alex won the New York Press Association Best
  Sports Feature award in 1999.
          As a law student at Roger Williams University School of Law, Alex was the 2009
  recipient of the Kathleen Brit Memorial Prize for Alternative Dispute Resolution and served as
  law clerk for the New England Patriots, working with the team’s General Counsel on real estate
  acquisitions, environmental compliance and collective bargaining issues. Alex attended Rollins
  College in Winter Park, Florida and Columbia University’s School of International and Public
  Affairs in New York, New York.


                         Notable Whitfield Bryson LLP Class Action Cases

  Antitrust

  In re: TFT-LCD (Flat Panel) Antitrust Litigation, No. 3:07-cv-01827, MDL No. 1827 (N.D.
  Cal.) (combined settlement totaling nearly $1.1 billion in suit alleging the illegal formation of an
  international cartel to restrict competition in the LCD panel market) (2012).

  Appliances

  Ersler, et. al v. Toshiba America et. al, No. 07- 2304 (D.N.J.) (settlement of claims arising from
  allegedly defective television lamps) (2009).

  Maytag Neptune Washing Machines (class action settlement for owners of Maytag Neptune
  washing machines).

  Stalcup, et al. v. Thomson, Inc. (Ill. Cir. Ct.) ($100 million class settlement of clams that certain
  GE, PROSCAN and RCA televisions may have been susceptible to temporary loss of audio
  when receiving broadcast data packages that were longer than reasonably anticipated or
  specified) (2004).

  Hurkes Harris Design Associates, Inc., et al. v. Fujitsu Computer Prods. of Am., Inc. (settlement
  provides $42.5 million to pay claims of all consumers and other end users who bought certain
  Fujitsu Desktop 3.5” IDE hard disk drives) (2003).




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  Turner v. General Electric Company, No. 2:05-cv-00186 (M.D. Fla.) (national settlement of
  claims arising from allegedly defective refrigerators) (2006).


  Automobiles

  In re General Motors Corp. Speedometer Prods. Liability Litig., MDL 1896 (W.D. Wash.)
  (national settlement for repairs and reimbursement of repair costs incurred in connection with
  defective speedometers) (2007).

  Baugh v. The Goodyear Tire & Rubber Company (class settlement of claims that Goodyear sold
  defective tires that are prone to tread separation when operated at highway speeds; Goodyear
  agreed to provide a combination of both monetary and non-monetary consideration to the
  Settlement Class in the form of an Enhanced Warranty Program and Rebate Program) (2002).

  Lubitz v. Daimler Chrysler Corp., No. L-4883-04 (Bergen Cty. Super. Ct, NJ 2006) (national
  settlement for repairs and reimbursement of repair costs incurred in connection with defective
  brake system; creation of $12 million fund; 7th largest judgment or settlement in New Jersey)
  (2007).

  Berman et al. v. General Motors LLC, Case No. 2:18-cv-14371 (S.D. Fla.) (Co-Lead Counsel;
  national settlement for repairs and reimbursement of repair costs incurred in connection with
  Chevrolet Equinox excessive oil consumption).

  Civil Rights

  In re Black Farmers Discrimination Litigation, Case No. 1:08-mc-00511 (D.D.C.) ($1.25 billion
  settlement fund for black farmers who alleged U.S. Department of Agriculture discriminated
  against them by denying farm loans) (2013).

  Bruce, et. al. v. County of Rensselaer et. al., Case No. 02-cv-0847 (N.D.N.Y.) (class settlement
  of claims that corrections officers and others employed at the Rensselaer County Jail (NY)
  engaged in the practice of illegally strip searching all individuals charged with only
  misdemeanors or minor offenses) (2004).

  Commercial

  In re: Outer Banks Power Outage Litigation, 4:17-cv-141 (E.D.N.C) (Co-Lead Counsel; $10.35
  million settlement for residents, businesses, and vacationers on Hatteras and Ocracoke Islands
  who were impacted by a 9-day power outage) (2018)

  Construction Materials

  Cordes et al v. IPEX, Inc., No. 08-cv-02220-CMA-BNB (D. Colo.) (class action arising out of
  defective brass fittings; court-appointed member of Plaintiffs’ Steering Committee) (2011).




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  Elliott et al v. KB Home North Carolina Inc. et al 08-cv-21190 (N.C. Super. Ct. Wake County)
  (Lead Counsel; class action settlement for those whose homes were constructed without a
  weather-resistant barrier)(2017)

  In re: Pella Corporation Architect and Designer Series Windows Marketing, Sales Practices and
  Products Liability Litigation, MDL No. 2514 (D.S.C.)(class action arising from allegedly
  defective windows; Court-appointed Co-Lead Counsel).

  In re MI Windows and Doors, Inc., Products Liability Litigation, MDL No. 2333 (D.S.C)
  (National class action settlement for homeowners who purchased defective windows; Court-
  appointed Co-Lead Counsel).

  In re: Atlas Roofing Corporation Chalet Shingle Products Liability Litig., MDL No. 2495 (N.D.
  Ga.) (class action arising from allegedly defective shingles; Court-appointed Co-Lead Counsel).

  Helmer et al. v. Goodyear Tire & Rubber Co., No. 12-cv-00685-RBJ (D. Colo. 2012) (class
  action arising from allegedly defective radiant heating systems; Colorado class certified, 2014
  WL 3353264, July 9, 2014)).

  In re: Zurn Pex Plumbing Products Liability Litigation, No. o:08-md-01958, MDL No. 1958 (D.
  Minn.) (class action arising from allegedly plumbing systems; member of Executive Committee;
  settlement) (2012).

  Hobbie, et al. v. RCR Holdings II, LLC, et al., No. 10-1113 , MDL No. 2047 (E.D. La.) ($30
  million settlement for remediation of 364 unit residential high-rise constructed with Chinese
  drywall) (2012).

  In re: Chinese Manufactured Drywall Products Liability Litigation, No. 2:09-md-02047, MDL
  No. 2047 (E.D. La.) (litigation arising out of defective drywall) (appointed Co-Chair, Insurance
  Committee) (2012).

  Galanti v. Goodyear Tire & Rubber Co., No. 03-209 (D.N.J. 2003) (national settlement and
  creation of $330 million fund for payment to owners of homes with defective radiant heating
  systems) (2003).

  In re Synthetic Stucco Litig., Civ. Action No. 5:96-CV-287-BR(2) (E.D.N.C.) (member of
  Plaintiffs’ Steering Committee; settlements with four EIFS Manufacturers for North Carolina
  homeowners valued at more than $50 million).

  In re Synthetic Stucco (EIFS) Prods. Liability Litig., MDL No. 1132 (E.D.N.C.) (represented
  over 100 individuals homeowners in lawsuits against homebuilders and EIFS manufacturers).

  Posey, et al. v. Dryvit Systems, Inc., Case No. 17,715-IV (Tenn. Cir. Ct) (Co-Lead Counsel;
  national class action settlement provided cash and repairs to more than 7,000 claimants) (2002).




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  Sutton, et al. v. The Federal Materials Company, Inc., et al, No. 07-CI-00007 (Ky. Cir. Ct) (Co-
  Lead Counsel; $10.1 million class settlement for owners of residential and commercial properties
  constructed with defective concrete).

  Staton v. IMI South, et al. (Ky. Cir. Ct.) ((Co-Lead Counsel; class settlement for approximately
  $30 million for repair and purchase of houses built with defective concrete).

  In re Elk Cross Timbers Decking Marketing, Sales Practices and Products Liability Litigation,
  No. 15-cv-0018, MDL No. 2577 (D.N.J.) (Lead Counsel; national settlement to homeowners
  who purchased defective GAF decking and railings).

  Bridget Smith v. Floor and Decor Outlets of America, Inc., No. 1:15-cv-4316 (N.D. Ga.) (Co-
  Lead Counsel; National class action settlement for homeowners who purchased unsafe laminate
  wood flooring).

  In re Lumber Liquidators Chinese-Manufactured Flooring Products Marketing, Sales Practices
  and Products Liability Litigation MDL No. 1:15-md-2627 (E.D.Va.) (Formaldehyde case; $36
  million national class action settlement for member who purchased a certain type of laminate
  flooring).

  In re Lumber Liquidators Chinese-Manufactured Laminate Flooring Durability Marketing, Sales
  Practices Litigation MDL No. 1:16-md-2743 (E.D.Va.) (Co-Lead Counsel; Durability case; $36
  million national class action settlement for member who purchased a certain type of laminate
  flooring).

  In re Windsor Wood Clad Window Products Liability Litigation MDL No. 2:16-md-02688 (E.D.
  Wis.) (National class action settlement for homeowners who purchased defective windows;
  Court-appointed Lead Counsel).

  In re Allura Fiber Cement Siding Products Liability Litigation MDL No. 2:19-md-02886
  (D.S.C.) (class action arising from allegedly defective cement board siding; Court-appointed
  Lead Counsel).

  Environmental

  Nnadili, et al. v. Chevron U.S.A., Inc, No. 02-cv-1620 (D.D.C.) ($6.2 million settlement for
  owners and residents of 200 properties located above underground plume of petroleum from
  former Chevron gas station) (2008).

  In re Swanson Creek Oil Spill Litigation, No. 00-1429 (D. Md.) (Lead Counsel; $2.25 million
  settlement of litigation arising from largest oil spill in history of State of Maryland) (2001).

  Fair Labor Standards Act/Wage and Hour

  Craig v. Rite Aid Corporation, Civil No. 08-2317 (M.D. Pa.) (FLSA collective action and class
  action settled for $20.9 million) (2013).



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  Stillman v. Staples, Inc., Civil No. 07-849 (D.N.J. 2009) (FLSA collective action, plaintiffs’ trial
  verdict for $2.5 million; national settlement approved for $42 million) (2010).

  Lew v. Pizza Hut of Maryland, Inc., Civil No. CBB-09-CV-3162 (D. Md.) (FLSA collective
  action, statewide settlement for managers-in-training and assistant managers, providing
  recompense of 100% of lost wages) (2011).

  Financial

  Roberts v. Fleet Bank (R.I.), N.A., Civil Action No. 00-6142 (E. D. Pa.) ($4 million dollar
  settlement on claims that Fleet changed the interest rate on consumers’ credit cards which had
  been advertised as "fixed.") (2003).

  Penobscot Indian Nation et al v United States Department of Housing and Urban Development,
  N. 07-1282 (PLF) (D.D.C. 2008) (represented charitable organization which successfully
  challenged regulation barring certain kinds of down-payment assistance; Court held that HUD’s
  promulgation of rule violated the Administrative Procedure Act) (2008).

  Impact Fees

  Town of Holly Springs, No. 17-cvs-6244, 17-cvs-6245, 18-cvs-1373 (Wake Co., NC) (Court
  appointed Class Counsel; Class action settlement with a $7.9 million fund for builders and
  developers to recover improper capacity replacement and transportation fees paid to the town)
  (2019).

  Larry Shaheen v. City of Belmont, No. 17-cvs-394 (Gaston Co., NC) (Court appointed Class
  Counsel; Class action settlement with a $1.65 million fund for builders and developers to recover
  improper capacity replacement and transportation fees paid to the city) (2019).

  Upright Builders Inc. et al. v. Town of Apex, No. 18-cvs-3720 & 18-cvs-4384, (Wake Co., NC)
  (Court appointed Class Counsel; Class action settlement with a $15.3 million fund for builders
  and developers to recover improper capacity replacement and transportation paid fees to the
  town) (2019).

  Insurance

  Young, et al. v. Nationwide Mut. Ins. Co, et al., No. 11-5015 (E.D. Ky.) (series of class actions
  against multiple insurance companies arising from unlawful collection of local taxes on premium
  payments; class certified and affirmed on appeal, 693 F.3d 532 (6th Cir., 2012); settlements with
  all defendants for 100% refund of taxes collected) (2014).

  Nichols v. Progressive Direct Insurance Co., et al., No. 2:06cv146 (E.D. Ky.) (Class Counsel;
  class action arising from unlawful taxation of insurance premiums; statewide settlement with
  Safe Auto Insurance Company and creation of $2 million Settlement Fund; statewide settlement
  with Hartford Insurance Company and tax refunds of $1.75 million ) (2012).



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  Privacy/Data Breach

  In Re: U.S. Office of Personnel Management Data Security Breach Litigation, No. 15-1393
  (ABJ), MDL No. 2664 (D.D.C.) (court appointed interim Liaison Counsel).

  In re Google Buzz Privacy Litigation, No. 5:10-cv-00672 (N.D. Cal.) (court-appointed Lead
  Class Counsel; $8.5 million cy pres settlement) (2010).

  In re: Dept. of Veterans Affairs (VA) Data Theft Litig., No. 1:2006-cv-00506, MDL 1796
  (D.D.C.) (Co-Lead counsel representing veterans whose privacy rights had been compromised
  by the theft of an external hard drive containing personal information of approximately 26.6
  million veterans and their spouses; creation of a $20 million fund for affected veterans and a cy
  pres award for two non-profit organizations) (2009).

  In re: Adobe Systems Inc. Privacy Litigation, No. 5:13-cv-05226 (N.D. Cal. 2015) (settlement
  requiring enhanced cyber security measures and audits) (2015).




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                                            Firm Resume
          Jonathan Tycko and Hassan Zavareei founded Tycko & Zavareei LLP in 2002 when they left a
large national firm to form a private public interest law firm. Since then, a wide range of clients have
trusted the firm with their most difficult problems. Those clients include individuals fighting for their
rights, tenants’ associations battling to preserve decent and affordable housing, consumers seeking
redress for unfair business practices, whistleblowers exposing fraud and corruption, and non-profit
entities and businesses facing difficult litigation.
        The firm’s practice focuses on complex litigation, with a particular emphasis on consumer and
 other types of class actions, and qui tam and False Claims Act litigation. In its class action practice, the
 firm represent consumers who have been victims of corporate wrongdoing. The firm’s attorneys bring
 a unique perspective to such litigation because many of them trained at major national defense firms
 where they obtained experience representing corporate defendants in such cases. This unique
 perspective enables the firm to anticipate and successfully counter the strategies commonly employed
 by corporate counsel defending class action litigation. Tycko & Zavareei’s attorneys have successfully
 obtained class certification, been appointed class counsel, and obtained approval of class action
 settlements with common funds totaling over $500 million.
         Tycko & Zavareei’s sixteen attorneys graduated from some of the nation’s finest law schools,
 including Yale Law School, Harvard Law School, Columbia Law School, and the University of Michigan
 Law School. They have served in prestigious clerkships for federal and state trial and appellate judges
 and have worked for low-income clients through competitive public interest fellowships. The firm’s
 diversity makes it a leader amongst its peers, and the firm actively and successfully recruits attorneys
 who are women, people of color, and LGBTQ. To support its mission of litigating in the public interest,
 Tycko & Zavareei offers a unique public interest fellowship for recent law graduates. Tycko & Zavareei’s
 attorneys practice in state and federal courts across the nation.




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  Jonathan Tycko
  Partner
  202.973.0900
  jtycko@tzlegal.com


  In his 25 years of practice, Jonathan Tycko has represented a wide range
  of clients, including individuals, Fortune 500 companies, privately-held            Education
  business, and non-profit associations, in both trial and appellate courts           Columbia University Law School,
  around the country. Although he continues to handle a variety of cases,             1992
  his current practice is focused primarily on helping whistleblowers
  expose fraud and corruption through qui tam litigation under the False              The Johns Hopkins University, 1989,
  Claims Act and other similar whistleblower statutes. Mr. Tycko’s                    with honors
  whistleblower clients have brought to light hundreds of millions of
  dollars in fraud in cases involving healthcare, government contracts,               Bar Admissions
  customs and import duties, banking and tax.
                                                                                      District of Columbia
  Prior to founding Tycko & Zavareei LLP in 2002, Mr. Tycko was with                  Maryland
  Gibson, Dunn & Crutcher LLP, one of the nation’s top law firms. He                  New York
  received his law degree in 1992 from Columbia University Law School,                Supreme Court of the United States
  and earned a B.A. degree, with honors, in 1989 from The Johns Hopkins
  University. After graduating from law school, Mr. Tycko served for two              Memberships
  years as law clerk to Judge Alexander Harvey, II, of the United States
  District Court for the District of Maryland.                                        American Association for Justice
                                                                                      (AAJ)
  In addition to his private practice, Mr. Tycko is an active participant in
  other law-related and community activities. He currently serves on the              Public Justice
  Conference Committee of the Taxpayers Against Fraud Education Fund,                 Taxpayers Against Fraud Education
  charged with planning the premier annual conference of whistleblower                Fund (TAFEF)
  attorneys and their counterparts at the United States Department of
  Justice and other government agencies. He has taught as an Adjunct                  Awards
  Professor at the George Washington University Law School. He is a
  former member and Chairperson of the Rules of Professional Conduct                  Stone Scholar (all three years),
  Review Committee of the District of Columbia Bar, where he helped                   Columbia Law School
  draft the ethics rules governing members of the bar. And Mr. Tycko is a             Thomas E. Dewey Prize for Best
  member of the Board of Trustees of Studio Theatre, one of the D.C.                  Brief, Harlan Fiske Stone Moot Court
  area’s top non-profit theaters.                                                     Competition, Columbia Law School
  Mr. Tycko is admitted to practice before the courts of the District of              Award of Litigation Excellence,
  Columbia, Maryland and New York, as well as before numerous federal                 CARECEN-The Central American
  courts, including the Supreme Court, the Circuit Courts for the D.C.                Resource Center
  Circuit, Third Circuit, Fourth Circuit, Fifth Circuit, Seventh Circuit,             Super Lawyers, 2012-current
  Ninth Circuit, Eleventh Circuit and Federal Circuit, the District Courts
                                                                                      Member of the D.C. Bar Leadership
  for the District of Columbia and District of Maryland, the Southern
                                                                                      Academy
  District of New York, the Northern District of New York, the Western
  District of New York, and the Court of Federal Claims.



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  Mr. Zavareei has devoted the last eighteen years to recovering hundreds
  of millions of dollars on behalf of consumers and workers. He has served             Education
  in leadership roles in dozens of class action cases and has been appointed           UC Berkeley School of Law, 1995
  Class Counsel on behalf of numerous litigation and settlement classes.               Order of the Coif
  An accomplished and experienced attorney, Mr. Zavareei has litigated in              Duke University, 1990
  state and federal courts across the nation in a wide range of practice               cum laude
  areas; tried several cases to verdict; and successfully argued numerous
  appeals, including in the D.C. Circuit, the Fourth Circuit, and the Fifth
                                                                                       Bar Admissions
  Circuit.
                                                                                       California
  After graduating from UC Berkeley School of Law, Mr. Zavareei joined
                                                                                       District of Columbia
  the Washington, D.C. office of Gibson, Dunn & Crutcher LLP. There,                   Maryland
  he managed the defense of a nationwide class action brought against a                Supreme Court of the United States
  major insurance carrier, along with other complex civil matters. In 2002,
  Mr. Zavareei founded Tycko & Zavareei LLP with his partner Jonathan
  Tycko.                                                                               Memberships
                                                                                       Public Justice, Board Member
  Mr. Zavareei has served as lead counsel or co-counsel in dozens of class
  actions involving deceptive business practices, defective products,                  American Association for Justice
  and/or privacy. He has been appointed to leadership roles in multiple
  cases. As Lead Counsel in an MDL against a financial services company                Awards
  that provided predatory debit cards to college students, Mr. Zavareei                Washington Lawyers Committee,
  spearheaded a fifteen-million-dollar recovery for class members. He is               Outstanding Achievement Award
  currently serving as Co-Lead Counsel in consolidated proceedings against
  Fifth Third Bank, and on the Plaintiffs’ Executive Committee in MDL                  Super Lawyer
  litigation against TD Bank. As Co-Lead Counsel in Farrell v. Bank of                 Lawdragon 500
  America, a case challenging Bank of America’s punitive overdraft fees,
  Mr. Zavareei secured a class settlement valued at $66.6 million in cash              Presentations & Publications
  and debt relief, together with injunctive relief forcing the bank to change          Witness Before the Subcommittee on
  a practice that will save millions of low-income consumers approximately             the Constitution and Civil Justice,
  $1.2 billion in overdraft fees. In his Order granting final approval, Judge          115th Congress
  Lorenz of the U.S. District Court for the Southern District of California
  described the outcome as a “remarkable” accomplishment achieved                      Witness Before the Civil Rules
  through “tenacity and great skill.”                                                  Advisory Committee, 2018, 2019
                                                                                       Editor, Duke Law School Center for
                                                                                       Judicial Studies, Guidance on New
                                                                                       Rule 23 Class Action Settlement
                                                                                       Provisions



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Anna C. Haac is a Partner in Tycko & Zavareei’s Washington, D.C.
office. She focuses her practice on consumer protection class actions             Education
and whistleblower litigation. Her prior experience at Covington &                 University of Michigan Law School,
Burling LLP, one of the nation’s most prestigious defense-side law                2006, cum laude
firms, gives her a unique advantage when representing plaintiffs
against large companies in complex cases. Since arriving at Tycko &               University of North Carolina at
Zavareei, Ms. Haac has represented consumers in a wide range of                   Chapel Hill, 2006, highest honors
practice areas, including product liability, false labeling, deceptive and
unfair trade practices, and predatory financial practices. Her                    Bar Admissions
whistleblower practice involves claims for fraud on federal and state             District of Columbia
governments across an equally broad spectrum of industries,                       Maryland
including health care fraud, customs fraud, and government
contracting fraud.                                                                Memberships
Ms. Haac has helped secure multimillion-dollar relief on behalf of                Antitrust & Consumer Protection
the classes and whistleblowers she represents. Ms. Haac also serves               Section of District of Columbia
as the D.C. Co-Chair of the National Association of Consumer                      Bar, Co-Chair
Advocates and as Co-Chair of the Antitrust and Consumer Law                       National Association of Consumer
Section Steering Committee of the D.C. Bar.                                       Advocates, District of Columbia
                                                                                  Co-Chair
Ms. Haac earned her law degree cum laude from the University of
Michigan Law School in 2006 and went on to clerk for the                          Awards
Honorable Catherine C. Blake of the United States District Court for
the District of Maryland. Prior to law school, Ms. Haac graduated                 Super Lawyers, Rising Star, 2015
with a B.A. in political science with highest distinction from the
Honors Program at the University of North Carolina at Chapel Hill.                Presentations & Publications

Ms. Haac is a member of the District of Columbia and Maryland                     Discussion Leader, “Practical Ideas
state bars. She is also admitted to the United States Court of Appeals            about Properly Framing the Issues
for the Second, Third, and Fourth Circuits and the United States                  and Educating the Court and
District Courts for the District of Columbia, District of Maryland,               Public in Filings Responding to
and the Eastern District of Michigan, among others.                               Increasing Attacks on Class Action
                                                                                  Settlements and Fees,” Invitation-
                                                                                  Only Cambridge Forum on
                                                                                  Plaintiffs’ Class Action Litigation
                                                                                  (October 2020)



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  Andrea R. Gold
  Partner
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  Andrea Gold has spent her legal career advocating for consumers,
  employees, and whistleblowers. Ms. Gold has litigated numerous                        Education
  complex cases, including through trial. Her extensive litigation                      University of Michigan Law School,
  experience benefits the firm’s clients in both national class action cases as         2004
  well as in qui tam whistleblower litigation.
                                                                                        University of Michigan, Ross School
  She has served as trial counsel in two lengthy jury trials.                           of Business, 2001
  In her class action practice, Ms. Gold has successfully defended
  dispositive motions, navigated complex discovery, worked closely with                 Bar Admissions
  leading experts, and obtained contested class certification. Her class                District of Columbia
  action cases have involved, amongst other things, unlawful bank fees,                 Illinois
  product defects, violations of the Telephone Consumer Protection Act,                 Maryland
  and deceptive advertising and sales practices.
  Ms. Gold also has significant civil rights experience. She has represented            Memberships
  individuals and groups of employees in employment litigation, obtaining               American Association for Justice
  substantial recoveries for employees who have faced discrimination,
  harassment, and other wrongful conduct. In addition, Ms. Gold has                     National Associate of Consumer
                                                                                        Advocates
  appellate experience in both state and federal court.
                                                                                        National Employment Lawyers
  Prior to joining Tycko & Zavareei, Ms. Gold was a Skadden fellow. The                 Association
  Skadden Fellowship Foundation was created by Skadden, Arps, Slate,
  Meagher & Flom LLP, one of the nation’s top law firms, to support the                 Taxpayers Against Fraud
  work of new attorneys at public interest organizations around the
  country.                                                                              Awards
  Ms. Gold earned her law degree from the University of Michigan Law                    National Trial Lawyers, Top 100 Civil
  School, where she was an associate editor of the Journal of Law Reform,               Plaintiff Lawyers, 2020
  co-President of the Law Students for Reproductive Choice, and a student               Super Lawyers, Rising Star
  attorney at the Family Law Project clinical program. Ms. Gold graduated               Skadden Fellow, Skadden Arps Slate
  with high distinction from the University of Michigan Ross School of                  Meagher & Flom LLP, 2004-2006
  Business in 2001, concentrating her studies in Finance and Marketing.




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  Annick M. Persinger
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  Annick M. Persinger leads Tycko & Zavareei’s California office as
  California’s Managing Partner. While at Tycko & Zavareei, Ms. Persinger            Education
  has dedicated her practice to utilizing California’s prohibitions against          University of California Hastings
  unfair competition and false advertising to advocate for consumers. Ms.            College of Law, 2010 Magna Cum
  Persinger has taken on financial institutions, companies that take                 Laude, Order of the Coif
  advantage of consumers with deceptive advertising, tech companies that             University of California San Diego,
  disregard user privacy, companies that sell defective products, and                2007 Cum Laude
  mortgage loan servicers. Ms. Persinger also represents whistleblowers
  who expose their employer’s fraudulent practices.
                                                                                     Bar Admissions
  Ms. Persinger graduated magna cum laude as a member of the Order of
  the Coif from the University of California, Hastings College of the Law            California
  in 2010. While in law school, Ms. Persinger served as a member of
  Hastings Women’s Law Journal, and authored two published articles. In              Memberships
  2008, Ms. Persinger received an award for Best Oral Argument in the                American Association for Justice
  first year moot court competition. In 2007, Ms. Persinger graduated cum
  laude from the University of California, San Diego with a B.A. in                  Plaintiffs’ Food Fraud Litigation,
  Sociology, and minors in Law & Society and Psychology.                             2020 Steering Committee Member
  Following law school, Ms. Persinger worked as a legal research attorney            Public Justice
  for Judge John E. Munter in Complex Litigation at the San Francisco
  Superior Court.                                                                    Awards
  Ms. Persinger served as an elected board member of the Bay Area                    Super Lawyer, Rising Star 2020
  Lawyers for Individual Freedom (BALIF) from 2017 to 2019, and as Co-               UC Hastings, Best Oral Argument 2008
  Chair of BALIF from 2018 to 2019. During her term on the BALIF
  Board of Directors, Ms. Persinger advocated for LGBTQI community
  members with intersectional identities, and promoted anti-racism and
  anti-genderism. Ms. Persinger now serves as a Steering Committee
  member for the Cambridge Forum on Plaintiffs’ Food Fraud Litigation.




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  Sabita J. Soneji
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  In almost 20 years of practice, Sabita J. Soneji has developed extensive
  experience in litigation and legal policy at both the federal and state level         Education
  and a passion for fighting consumer fraud. Now a Partner in Tycko &                   Georgetown University Law Center,
  Zavareei’s Oakland office, she focuses on consumer protection class                   magna cum laude
  actions and whistleblower litigation. In addition to her success with novel
  Telephone Consumer Protection cases, False Claims Act cases involving                 University of Houston, summa cum
  insurance fraud, and deceptive and false advertising cases, Ms. Soneji serves         laude
  in leadership on multi-district litigation against Juul, for its manufacture and
  marketing to youth of an addictive nicotine product. Ms. Soneji also                  Bar Admissions
  successfully represents consumers harmed by massive data breaches and by
  corporate practices that collect and monetize user data without consent.              District of Columbia
  She serves as head of the firm’s Privacy and Data Breach Group.                       California
  Ms. Soneji began that work during her time with the United States
  Department of Justice, as Senior Counsel to the Assistant Attorney                    Memberships
  General. In that role, she oversaw civil and criminal prosecution of various          American Association for Justice
  forms of financial fraud that arose in the wake of the 2008 recession. For            (AAJ)
  that work, Ms. Soneji partnered with other federal agencies, state attorneys’
  general, and consumer advocacy groups. Beyond that affirmative work,                  Public Justice
  Ms. Soneji worked to defend various federal programs, including the                   Taxpayers Against Fraud Education
  Affordable Care Act in nationwide litigation.                                         Fund (TAFEF)
  Ms. Soneji has extensive civil litigation experience from her four years with
  international law firm, her work as an Assistant United States Attorney in            Awards
  the Northern District of California, and from serving as Deputy County
  Counsel for Santa Clara County, handling civil litigation on behalf of the            Attorney General’s Award 2014
  County including regulatory, civil rights, and employment matters. She has
  successfully argued motions and conducted trials in both state and federal            Presentations & Publications
  court and negotiated settlements in complex multi-party disputes.
                                                                                        NITA Trial Skills Faculty 2010-
  Early in her career, Ms. Soneji clerked for the Honorable Gladys Kessler              present
  on the United States District Court for the District of Columbia s, during
  which she assisted the judge in overseeing the largest civil case in American
  history, United States v. Phillip Morris, et al., a civil RICO case brought
  against major tobacco manufacturers for fraud in the marketing, sale, and
  design of cigarettes. The opinion in that case paved the way for Congress
  to authorize FDA regulation of cigarettes.
  Ms. Soneji is a graduate of the University of Houston, summa cum laude,
  with degrees in Math and Political Science, and Georgetown University
  Law Center, magna cum laude.




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   David W. Lawler
   Of Counsel
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   Mr. Lawler joined Tycko & Zavareei LLP in January 2012. He has
   over twenty years of commercial litigation experience, including an                   Education
   expertise in eDiscovery and complex case management. At the                           Creighton University School of
   firm Mr. Lawler has represented consumers in a numerous practice                      Law, 1997
   areas, including product liability, false labeling, deceptive and unfair              University of California, Berkeley
   trade practices, and antitrust class actions litigation.                              School of Law, 1989
   Before joining Tycko & Zavareei LLP, Mr. Lawler was an associate
   in the litigation departments at McKenna & Cuneo LLP and                              Bar Admissions
   Swidler Berlin Shereff Friedman LLP.                                                  District of Columbia

   Among Mr. Lawler’s career achievements include the co-drafting                        Memberships
   of appellate briefs which resulted in rare reversal and entry of
                                                                                         American Association for Justice
   judgment in favor of client, US Court of Appeals for the Fourth
                                                                                         Public Justice
   Circuit.

   Mr. Lawler is a member of the District of Columbia Bar, as well as
   numerous federal courts.



Representative Cases
In re Generic Pharmaceuticals Pricing Antitrust Litigation, MDL No. 2724 (E.D. Penn.) (complex price-fixing action)

Morgan v. Apple, Inc., Case No. 4:17-cv-5277(N.D. Cal.) (multimillion-dollar case alleging defects in high-end Powerbeats
headphone)

In re Automotive Parts Antitrust Litigation, Master File No. 12-md-02311 (E.D. Mich.) (described by the Department of
Justice as the largest antitrust case in history, recovering over $1.2 billion for classes)




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  Kristen G. Simplicio
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  Kristen G. Simplicio has devoted her career to representing victims of
  false advertising and corporate fraud. Prior to joining Tycko & Zavareei’s           Education
  D.C. office in 2020, she spent ten years at a boutique class action firm in          American University, Washington
  California. While there, she successfully litigated over a dozen false               College of Law, 2007 cum laude
  advertising cases against manufacturers of a variety of consumer
                                                                                       McGill University, 1999
  products, including olive oil, flushable wipes, beverages, and chocolate.
  In connection with this work, she helped to obtain millions of dollars in
  refunds to consumers, as well as changed practices.                                  Bar Admissions

  In addition to her product labeling work, Ms. Simplicio has represented              California
  plaintiffs in a wide variety of areas. For example, she was the lead                 District of Columbia
  associate on RICO case on behalf of small business owners against 18
  defendants in the credit card processing industry. In connection with that           Memberships
  case, she obtained a preliminary injunction halting an illegal $10 million
  debt collection scheme, and later, helped to secure refunds and changed              National Association of Consumer
  practices for the victims. She has also represented victims of other debt            Advocates
  collectors, as well as those harmed by unlawful background and credit                American Association for Justice
  reporting, including a pro bono matter performed in conjunction with
  the Lawyers’ Committee for Civil Rights of the San Francisco Bay Area.
  Ms. Simplicio also worked on a lawsuit against government agencies,
  which were charging unconstitutional fines and fees in connection with
  toll collection.
  Ms. Simplicio graduated cum laude from American University,
  Washington College of Law in 2007. She holds a bachelor’s degree from
  McGill University. She began her legal career at the United States
  Department of Labor, where she advised on regulations pertaining to
  group health insurance plans. Before and during law school, Ms.
  Simplicio worked for other plaintiffs’ law firms.
  Ms. Simplicio serves as the D.C. Co-Chair of the National Association of
  Consumer Advocates. She is admitted to practice in California and the
  District of Columbia.




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  Katherine M. Aizpuru
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  Katherine M. Aizpuru is a fearless advocate for consumers and
  whistleblowers, pursuing high-stakes litigation in state and federal courts          Education
  across the country. Ms. Aizpuru has represented classes of consumers                 Harvard Law School, 2014,
  against mortgage loan servicers that take advantage of elderly borrowers             cum laude
  and homeowners in financial distress; financial institutions that assess
                                                                                       Swarthmore College, 2010,
  improper and illegal fees against their customers; tech companies that               high honors
  violate user privacy; companies that sell defective products; and other
  corporations that use unfair and deceptive conduct to take advantage of
  the public. Ms. Aizpuru has also represented whistleblowers exposing                 Bar Admissions
  fraudulent practices in the healthcare industry. She is committed to fierce          District of Columbia
  advocacy on behalf of her clients and the public.                                    Massachusetts
  Prior to joining Tycko & Zavareei in 2017, Ms. Aizpuru clerked for the               New York
  Honorable Theodore D. Chuang on the United States District Court for
  the District of Maryland and the Honorable Catharine F. Easterly on the              Memberships
  District of Columbia Court of Appeals. She practiced law in the litigation
  group of a large international law firm, where she was recognized for her            American Association for Justice
  pro bono work.                                                                       Public Justice
  Ms. Aizpuru graduated cum laude from Harvard Law School in 2014.                     Taxpayers Against Fraud
  While in law school, Ms. Aizpuru held positions on the Executive Board
  of the Harvard Journal of Law & Gender and the Board of Law Students                 Awards
  for Reproductive Justice. Ms. Aizpuru earned her Bachelor of Arts with               Super Lawyer, Rising Star 2020
  High Honors from Swarthmore College in 2010, with a major in Political
  Science and minor in Chinese Language & Literature. She is a member of
  Phi Beta Kappa.




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  Mark A. Clifford
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  Mr. Clifford zealously represents plaintiffs in class action litigation
  challenging corporate greed and practices that place profits over people.             Education
  He is actively litigating cases against financial institutions, big tobacco,          Georgetown University Law Center,
  and the insurance industry over fraudulent, unfair, and unlawful conduct              2015 magna cum laude
  that has harmed millions of consumers. He also is litigating a number of
                                                                                        University of Georgia, 2009
  data breach cases, in which the personal information of millions of
  innocent victims was stolen due to the lax security practices of major
                                                                                        Bar Admissions
  corporations. In addition to his consumer protection practice, Mr.
  Clifford represents whistleblowers who come forward with information                  District of Columbia
  about fraud on government programs.                                                   Maryland
  Prior to joining Tycko & Zavareei in 2019, Mr. Clifford was an Associate              Memberships
  in the Washington, D.C. office of Covington & Burling LLP, one of the
  nation’s top defense-side firms. He uses his knowledge of how the other               American Constitution Society
  side operates to advance the interests of clients harmed by corporate                 LGBT Bar Association of the District
  wrongdoing. During his time at Covington, Mr. Clifford represented                    of Columbia
  corporations in complex litigation and government investigations,
                                                                                        Public Justice
  including matters involving whistleblower allegations in the healthcare
  and technology industries. He also maintained an active pro bono practice,
  representing indigent defendants in immigration and criminal matters.                 Awards
                                                                                        Medina S. and John M. Vasily
  Mr. Clifford graduated magna cum laude from Georgetown University Law                 Endowed Scholarship (GULC)
  Center in 2015. While in law school, he was an Executive Editor of the                Law Center Scholar (GULC)
  Georgetown Law Journal. Following law school, Mr. Clifford clerked for
  the Honorable Catherine C. Blake of the United States District Court for              CALI Award – Contracts (GULC)
  the District of Maryland. Prior to law school, he worked on several
  political campaigns following his graduation with honors from the                     Presentations & Publications
  University of Georgia in 2009 with a Bachelor of Arts in International
  Affairs and a Master of Public Administration.                                        Georgetown Law Journal, Executive
                                                                                        Editor (2014 – 2015)
  Mr. Clifford is admitted to practice law in the District of Columbia,                 Co-Author, “The LGBT
  Maryland, the United States District Court for the District of Maryland,              Community” in Divide, Develop, and
  and the United States Court of Appeals for the Fourth Circuit.                        Rule: Human Rights Violations in
                                                                                        Ethiopia, UW College of Law (2018)




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  V Chai Oliver Prentice joined Tycko & Zavareei in 2019. His practice
  focuses on complex civil litigation matters with an emphasis on                      Education
  consumer protection and antitrust class actions. Prior to joining the firm,          Yale Law School, 2015
  Mr. Prentice clerked for the Honorable Marsha S. Berzon of the United
  States Court of Appeals for the Ninth Circuit and worked as an associate             Freie Universitaet Berlin, 2012
  at a boutique litigation firm in San Francisco. Mr. Prentice also                    George Washington University, 2008
  previously served as a Rockefeller Brothers Fund Fellow in Nonprofit                 summa cum laude
  Law at the Vera Institute of Justice.
  Mr. Prentice graduated from Yale Law School in 2015. He earned an                    Bar Admissions
  M.A. in Environmental Management from the Freie Universitaet Berlin                  California
  in 2012 and graduated from the George Washington University in 2009
  with a B.A. in International Affairs, summa cum laude. Mr. Prentice is a             Memberships
  member of Phi Beta Kappa.
                                                                                       American Association for Justice
  In law school, Mr. Prentice served as an articles editor and managing
  editor of the Yale Human Rights and Development Law Journal. Mr.                     National Trans Bar Association
  Prentice also represented veterans in federal court class actions and                Pound Civil Justice Institute,
  administrative appeals as a law student intern at the Jerome N. Frank                Associate Fellow
  Legal Services Organization. He also served as a filmmaker for Yale’s                Public Justice
  Visual Law Project and as a teaching assistant and writing instructor for
  Yale College courses on the U.S. criminal justice system and bioethics               Awards
  and the law.
                                                                                       Super Lawyers, 2019-2020
  Mr. Prentice is admitted to the State Bar of California and the bars of the
  United States District Courts for the Northern District of California,
                                                                                       Presentations & Publications
  Central District of California, and Southern District of California, and
  the United States Court of Appeals for the Ninth Circuit.                            2019 Update to Cal. Antitr. & Unfair
                                                                                       Comp. L., Chapter 1: The Cartwright
                                                                                       Act
                                                                                       Conference Presentation, “Veterans
                                                                                       Legal Services and Discharge
                                                                                       Upgrade Applications: New Models
                                                                                       for Serving a Critical Need,” Equal
                                                                                       Justice Conference, Austin, TX (May
                                                                                       8, 2015)




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  Mallory Morales
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  Mallory Morales graduated magna cum laude from Boston University in
  2013, with a degree in Anthropology and Religion. After graduation she              Education
  worked at the Massachusetts Attorney General’s Office as a mediator for             University of California, Berkeley
  its consumer advocacy division, and then as a paralegal in the division of          School of Law, 2018
  open government.
                                                                                      Boston University, 2013, manga cum
  She earned her law degree from the University of California, Berkeley               laude
  School of Law in 2018, where she was elected Editor-in-Chief of the
  California Law Review. While in law school Ms. Morales also
                                                                                      Bar Admissions
  participated in La Raza Law Students’ Association, Women of Color
  Collective, La Raza Law Journal, and First Generation Professionals. She            California
  interned for the East Bay Community Law Center and externed for the
  Honorable William H. Alsup on the United State District Court,
  Northern District of California.
  Prior to joining Tycko & Zavareei in 2020, Ms. Morales practiced
  commercial litigation at Morrison & Foerster LLP in San Francisco. She
  maintained a pro bono practice in civil rights litigation and indigent
  criminal defense.
  Ms. Morales is admitted to the State Bar of California and the bars of the
  United States District Courts for the Northern District of California and
  Eastern District of California.




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  Jennifer Thelusma
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  Jennifer Thelusma graduated from Duke University School of Law in
  2019 with a J.D. and a certificate in Public Interest and Public Service.             Education
                                                                                        Duke University School of Law, 2019
  While at Duke Law, Jennifer gained legal experience through various                   University of Florida, 2016,
  practical projects. For example, during the Fall of her 2L year, as a legal           Summa Cum Laude
  intern in the Duke Wrongful Convictions Clinic, she worked to move
  five cases through post-conviction review by conducting legal research,               Bar Admissions
  interviewing witnesses, and drafting a motion for appropriate relief.
  During the Fall of her 3L year, Jennifer externed full time at the U.S.               Florida
  Department of Justice’s Special Litigation Section where she worked on                District of Columbia
  cases aimed at enforcing the Constitutional rights of individuals under
  state hospital and correctional control.                                              Memberships
  During her time at Duke Law, Jennifer also served as symposium editor                 Public Justice
  of the Duke Environmental Law and Policy Forum, externed in                           Duke Environmental Law and Policy
  Earthjustice’s D.C. office, and served as internal vice president of Duke’s           Forum, 2017-2019
  Black Law Students Association.

  Jennifer received her a B.A. in political science and history from the
  University of Florida.

  Jennifer is a member of the District of Columbia and Florida State Bars.




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  Leora N. Friedman
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  Leora Friedman received her J.D. from Georgetown University Law
  Center in 2020.                                                                     Education
                                                                                      Georgetown University Law Center,
  At Georgetown Law, Leora obtained diverse legal experience through                  2020
  experiential courses led by the O’Neill Institute for National and Global           Princeton University, 2014
  Health Law and by the Institute for Constitutional Advocacy and
  Protection. In addition, she authored papers proposing new legal
                                                                                      Bar Admissions
  frameworks for addressing the negative health impacts of electronic
  cigarettes and improving pandemic preparedness through writing-                     District of Columbia (exam results
  intensive coursework.                                                               pending)

  During law school, Leora also served as an intern for the Department of             Memberships
  Justice’s Office of Vaccine Litigation and its Consumer Protection                  Public Justice
  Branch. She was an Executive Editor for the Georgetown
  Environmental Law Review, which published her note “Recommending                    Executive Editor, Georgetown
  Judicial Reconstruction of Title VI to Curb Environmental Racism: A                 Environmental Law Review, 2019–
  Recklessness-Based Theory of Discriminatory Intent.”                                2020

  Previously, Leora was the Rockefeller Foundation’s Princeton Project 55             Publications
  Fellow from 2014-2015 and, thereafter, aided international health                   Recommending Judicial Reconstruction of
  advocacy campaigns at Global Health Strategies.                                     Title VI to Curb Environmental Racism:
                                                                                      A Recklessness-Based Theory of
  She graduated from Princeton University with an A.B. in Politics in 2014.           Discriminatory Intent, 32 GEO. ENV’T L.
                                                                                      REV. 421 (2020)
  Leora sat for the District of Columbia bar exam, and her results are
  pending.




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